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                                                      4months,APPEAL,CLOSED,PROTO,TitleVII
                               U.S. District Court
                      Northern District of Georgia (Atlanta)
                CIVIL DOCKET FOR CASE #: 1:22−cv−03401−TWT

McCrae v. Emory University                               Date Filed: 08/23/2022
Assigned to: Judge Thomas W. Thrash, Jr.                 Date Terminated: 03/11/2025
Cause: 42:2000 Job Discrimination (Sex)                  Jury Demand: Plaintiff
                                                         Nature of Suit: 442 Civil Rights: Jobs
                                                         Jurisdiction: Federal Question
Plaintiff
Shanequa McCrae                             represented by Christopher G Moorman
                                                           Moorman Pieschel, LLC
                                                           1819 Peachtree Rd. NE
                                                           Suite 406
                                                           Atlanta, GA 30309
                                                           404−898−1244
                                                           Fax: 404−898−1241
                                                           Email: cgm@moormanpieschel.com
                                                           TERMINATED: 11/10/2022
                                                           LEAD ATTORNEY

                                                         Clela Alice Errington
                                                         Goddard Law PLLC
                                                         39 Broadway
                                                         Suite 1540
                                                         New York, NY 10006
                                                         646−504−8363
                                                         Email: clela@goddardlawnyc.com
                                                         LEAD ATTORNEY
                                                         PRO HAC VICE
                                                         ATTORNEY TO BE NOTICED

                                                         Megan Sarah Goddard
                                                         Goddard Law PLLC
                                                         39 Broadway
                                                         Suite 1540
                                                         New York, NY 10006
                                                         504−504−8363
                                                         Email: megan@goddardlawnyc.com
                                                         LEAD ATTORNEY
                                                         PRO HAC VICE
                                                         ATTORNEY TO BE NOTICED

                                                         L'Erin Barnes Wiggins
                                                         LF Barnes Law, LLC
                                                         P.O. Box 250464
                                                         Atlanta, GA 30325
                                                         404−680−6498


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                                                              Email: lerin@lfbarneslaw.com
                                                              ATTORNEY TO BE NOTICED

                                                              Rachel R. Feingold
                                                              Goddard Law PLLC
                                                              39 Broadway
                                                              Suite 1540
                                                              New York, NY 10006
                                                              646−964−1178
                                                              TERMINATED: 03/27/2024
                                                              PRO HAC VICE


V.
Defendant
Emory University                              represented by Brian Scott Abrams
                                                             Hall, Gilligan, Roberts & Shanlever LLP
                                                             3340 Peachtree Road NE
                                                             Suite 1900
                                                             Atlanta, GA 30326
                                                             404−442−8776
                                                             Fax: 404−537−5555
                                                             Email: babrams@hagrslaw.com
                                                             ATTORNEY TO BE NOTICED

                                                              Rebecca Shanlever
                                                              Hall, Gilligan, Roberts & Shanlever LLP
                                                              3340 Peachtree Road NE
                                                              Suite 1900
                                                              Atlanta, GA 30326
                                                              404−442−8776
                                                              Email: rshanlever@hagrslaw.com
                                                              ATTORNEY TO BE NOTICED


 Date Filed   #    Docket Text
 08/23/2022   1    COMPLAINT with Jury Demand filed by Shanequa McCrae. (Filing fee $402, receipt
                   number AGANDC−12017943) (Attachments: # 1 Civil Cover Sheet)(jra) Please visit
                   our website at http://www.gand.uscourts.gov/commonly−used−forms to obtain Pretrial
                   Instructions and Pretrial Associated Forms which includes the Consent To Proceed
                   Before U.S. Magistrate form. (Entered: 08/24/2022)
 08/24/2022   2    Electronic Summons Issued as to Emory University. (jra) (Entered: 08/24/2022)
 08/25/2022   3    APPLICATION for Admission of Megan Sarah Goddard Pro Hac Vice (Application
                   fee $ 150, receipt number AGANDC−12022185).by Shanequa McCrae. (Moorman,
                   Christopher) Documents for this entry are not available for viewing outside the
                   courthouse. (Entered: 08/25/2022)
 09/01/2022        APPROVAL by Clerks Office re: 3 APPLICATION for Admission of Megan Sarah
                   Goddard Pro Hac Vice (Application fee $ 150, receipt number AGANDC−12022185).


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                  Attorney Megan Sarah Goddard added appearing on behalf of Shanequa McCrae (cdg)
                  (Entered: 09/01/2022)
09/02/2022    4   ORDER granting 3 Application for Admission Pro Hac Vice of Megan Sarah
                  Goddard. Signed by Judge Thomas W. Thrash, Jr. on 9/2/2022. If the applicant does
                  not have CM/ECF access in the Northern District of Georgia already, they must
                  request access at http://pacer.gov. If they have electronically filed in this district in a
                  previous case, please omit this step.(jra) (Entered: 09/02/2022)
09/02/2022        Clerk's Certificate of Mailing as to Megan Sarah Goddard re 4 Order on Application
                  for Admission PHV. (jra) (Entered: 09/02/2022)
09/08/2022    5   WAIVER OF SERVICE Returned Executed by Shanequa McCrae. Emory University
                  waiver mailed on 8/29/2022, answer due 10/28/2022. (Goddard, Megan) (Entered:
                  09/08/2022)
09/15/2022    6   Mail Returned as Undeliverable. Mail sent to Megan Sarah Goddard re 4 Order on
                  Application for Admission PHV (jra) (Entered: 09/16/2022)
09/19/2022    7   ORDER: The Plaintiff is ORDERED to ensure that the contact information for her
                  counsel is accurate, and, if it is inaccurate, to update the information forthwith, and no
                  later than September 29, 2022. Signed by Magistrate Judge Justin S. Anand on
                  9/19/2022. (jra) (Entered: 09/19/2022)
09/20/2022    8   NOTICE of Appearance by Megan Sarah Goddard on behalf of Shanequa McCrae
                  (Goddard, Megan) (Entered: 09/20/2022)
10/27/2022    9   NOTICE of Appearance by Rebecca Shanlever on behalf of Emory University
                  (Shanlever, Rebecca) (Entered: 10/27/2022)
10/27/2022   10   First MOTION to Dismiss with Brief In Support by Emory University. (Attachments:
                  # 1 Memorandum of Law in Support of Defendant's Motion to Dismiss, # 2
                  Exhibit)(Shanlever, Rebecca) (Entered: 10/27/2022)
10/27/2022   11   NOTICE of Appearance by Brian Scott Abrams on behalf of Emory University
                  (Abrams, Brian) (Entered: 10/27/2022)
10/31/2022   12   NOTICE of Appearance by L'Erin Barnes Wiggins on behalf of Shanequa McCrae
                  (Wiggins, L'Erin) (Entered: 10/31/2022)
11/04/2022   13   Certificate of Interested Persons by Emory University. (Shanlever, Rebecca) (Entered:
                  11/04/2022)
11/07/2022   14   Request for Leave of Absence for the following date(s): 11/21/22 − 11/25/22, 12/9/22,
                  12/19/22−12/23/22, by Rebecca Shanlever. (Shanlever, Rebecca) Modified to edit text
                  on 11/7/2022 (aaq). (Entered: 11/07/2022)
11/08/2022        Clerks Notation re 13 Certificate of Interested Persons. Reviewed and approved by
                  Judge Thrash. (jeh) (Entered: 11/08/2022)
11/08/2022   15   Consent MOTION to Stay Discovery Deadlines with Brief In Support by Emory
                  University. (Attachments: # 1 Brief)(Shanlever, Rebecca) (Entered: 11/08/2022)
11/09/2022   16   ORDER granting 15 Motion to Stay Discovery Deadlines. Signed by Magistrate Judge
                  Justin S. Anand on 11/09/2022. (rsg) (Entered: 11/09/2022)
11/10/2022   17


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                  MOTION to Withdraw Christopher G Moorman as Attorneyby Shanequa McCrae.
                  (Attachments: # 1 Exhibit Certificate of Consent for Withdrawal and Substitution of
                  Counsel, # 2 Text of Proposed Order)(Moorman, Christopher) (Entered: 11/10/2022)
11/10/2022   18   ORDER granting 17 Motion to Withdraw as Attorney. Attorney Christopher G
                  Moorman terminated. Signed by Magistrate Judge Justin S. Anand on 11/10/22. (rsg)
                  (Entered: 11/14/2022)
11/14/2022        Submission of 10 First MOTION to Dismiss to Magistrate Judge Justin S. Anand.
                  (jeh) (Entered: 11/14/2022)
12/07/2022   19   Consent MOTION for Extension of Time File Amended Complaint in Response to
                  Defendant's Motion to Dismiss re: Submission to Magistrate Judge, 10 First MOTION
                  to Dismiss by Shanequa McCrae. (Goddard, Megan) (Entered: 12/07/2022)
12/07/2022   20   ORDER granting 19 Consent MOTION for Extension of Time File Amended
                  Complaint. Plaintiff shall have until December 23, 2022 to amend her Complaint.
                  Signed by Magistrate Judge Justin S. Anand on 12/7/22. (rsg) (Entered: 12/07/2022)
12/23/2022   21   First AMENDED COMPLAINT against Emory Universitywith Jury Demand filed by
                  Shanequa McCrae. (Attachments: # 1 Exhibit Redline of Changes made to
                  Complaint)(Goddard, Megan) Please visit our website at
                  http://www.gand.uscourts.gov/commonly−used−forms to obtain Pretrial Instructions
                  and Pretrial Associated Forms which includes the Consent To Proceed Before U.S.
                  Magistrate form. (Entered: 12/23/2022)
01/04/2023   22   Consent MOTION for Extension of Time to Respond to Amended Complaint by
                  Emory University. (Attachments: # 1 Text of Proposed Order)(Shanlever, Rebecca)
                  Modified on 1/4/2023 (rsg). (Entered: 01/04/2023)
01/04/2023   23   ORDER granting 22 Motion for Extension of Time to File Answer, Emory University
                  Answer due 2/3/2023. Signed by Magistrate Judge Justin S. Anand on 1/4/23. (rsg)
                  (Entered: 01/04/2023)
01/25/2023   24   Notice for Leave of Absence for the following date(s): 03/06/2023, 03/07/2023,
                  03/08/2023, 03/09/2023, 03/10/2023, 03/11/2023, 03/13/2023, 04/26/2023,
                  04/27/2023, 04/28/2023, by Rebecca Shanlever. (Shanlever, Rebecca) (Entered:
                  01/25/2023)
02/02/2023   25   Consent MOTION for Extension of Time to File Answer re 21 Amended Complaint,
                  by Emory University. (Attachments: # 1 Text of Proposed Order)(Shanlever, Rebecca)
                  (Entered: 02/02/2023)
02/03/2023   26   ORDER granting 25 Consent MOTION for Extension of Time to File Answer re 21
                  Amended Complaint, Emory University Answer due 2/24/2023. Signed by Magistrate
                  Judge Justin S. Anand on 02/03/2023. (jkb) (Entered: 02/03/2023)
02/03/2023   27   Second AMENDED COMPLAINT against Emory Universitywith Jury Demand filed
                  by Shanequa McCrae. (Attachments: # 1 Exhibit Redline of Second Amended
                  Complaint)(Goddard, Megan) Please visit our website at
                  http://www.gand.uscourts.gov/commonly−used−forms to obtain Pretrial Instructions
                  and Pretrial Associated Forms which includes the Consent To Proceed Before U.S.
                  Magistrate form. (Entered: 02/03/2023)
02/24/2023   28   MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM with Brief In Support
                  by Emory University. (Attachments: # 1 Memorandum of Law in Support of


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                  Defendant's Motion to Dismiss, # 2 Exhibit A − Signed Charge of Discrimination
                  McCrae)(Shanlever, Rebecca) (Entered: 02/24/2023)
03/09/2023   29   Consent MOTION for Extension of Time File Response to Defendant's Motion to
                  Dismiss Plaintiff's Second Amended Complaint re: 28 MOTION TO DISMISS FOR
                  FAILURE TO STATE A CLAIM by Shanequa McCrae. (Attachments: # 1 Text of
                  Proposed Order)(Goddard, Megan) (Entered: 03/09/2023)
03/09/2023   30   ORDER granting 29 Consent MOTION for Extension of Time File Response to
                  Defendant's Motion to Dismiss Plaintiff's Second Amended Complaint re: 28
                  MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM . The deadline for
                  Plaintiff to respond to Defendant's Motion to Dismiss the Second Amended Complaint
                  is extended to 04/10/2023. Signed by Magistrate Judge Justin S. Anand on 03/09/2023.
                  (jkb) (Entered: 03/10/2023)
03/29/2023   31   Notice for Leave of Absence for the following date(s): 4/13/23, 4/14/23, 4/17/23, by
                  Rebecca Shanlever. (Shanlever, Rebecca) (Entered: 03/29/2023)
04/10/2023   32   RESPONSE in Opposition re 28 MOTION TO DISMISS FOR FAILURE TO STATE
                  A CLAIM filed by Shanequa McCrae. (Goddard, Megan) (Entered: 04/10/2023)
04/20/2023   33   Consent MOTION for Extension of Time to File a Reply Supporting Its Motion to
                  Dismiss re: 28 MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM by
                  Emory University. (Attachments: # 1 Text of Proposed Order)(Shanlever, Rebecca)
                  (Entered: 04/20/2023)
04/21/2023   34   ORDER granting 33 Consent MOTION for Extension of Time to File a Reply
                  Supporting Its Motion to Dismiss re: 28 MOTION TO DISMISS FOR FAILURE TO
                  STATE A CLAIM . Signed by Magistrate Judge Justin S. Anand on 04/21/2023. (jkb)
                  (Entered: 04/21/2023)
04/26/2023   35   REPLY BRIEF re 28 MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM
                  filed by Emory University. (Shanlever, Rebecca) (Entered: 04/26/2023)
05/02/2023        Submission of 28 MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM to
                  District Judge Thomas W. Thrash Jr. (jeh) (Entered: 05/02/2023)
05/24/2023   36   (Docketed in error)Non− Final REPORT AND RECOMMENDATION, IT IS
                  RECOMMENDED that the First Motion to Dismiss 10 be DENIED AS MOOT and
                  the Second Motion to Dismiss 28 be GRANTED IN PART and DENIED IN PART.
                  Specifically, the undersigned finds that Plaintiffs claims fail to the extent they are
                  based theories of retaliation, constructive discharge, and/or disparate impact. This
                  Recommendation, if adopted, would result in DISMISSAL of Counts III and V (for
                  retaliation), and would allow Counts I, II, and IV (for race and pregnancy
                  discrimination) and Count VI (for punitive damages and expenses of litigation) to
                  proceed based on alleged disparate treatment discrimination in relation to Plaintiffs
                  work assignments and the resulting impacts on her pay and benefits. Finally, Plaintiffs
                  request to file a third amended complaint should be DENIED. Signed by Magistrate
                  Judge John K. Larkins, III on 05/24/2023. (jkb) Modified on 5/24/2023 (jkb).
                  (Entered: 05/24/2023)
05/24/2023   37   Non− Final REPORT AND RECOMMENDATION, IT IS RECOMMENDED that the
                  First Motion to Dismiss 10 be DENIED AS MOOT and the Second Motion to Dismiss
                  28 be GRANTED IN PART and DENIED IN PART. Specifically, the undersigned
                  finds that Plaintiffs claims fail to the extent they are based theories of retaliation,


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                  constructive discharge, and/or disparate impact. This Recommendation, if adopted,
                  would result in DISMISSAL of Counts III and V (for retaliation), and would allow
                  Counts I, II, and IV (for race and pregnancy discrimination) and Count VI (for
                  punitive damages and expenses of litigation) to proceed based on alleged disparate
                  treatment discrimination in relation to Plaintiffs work assignments and the resulting
                  impacts on her pay and benefits. Finally, Plaintiffs request to file a third amended
                  complaint should be DENIED. Signed by Magistrate Judge Justin S. Anand on
                  05/24/2023. (jkb) Modified on 5/24/2023 (jkb). (Entered: 05/24/2023)
05/24/2023   38   ORDER for Service of 37 Report and Recommendation,,, by Magistrate Judge Justin
                  S. Anand. Each party may file written objections to the Report & Recommendation
                  within 14 days of service. If no objections are filed, the Report & Recommendation
                  may be adopted as the opinion and order of the District Court. Signed by Magistrate
                  Judge Justin S. Anand on 05/24/2023. (jkb) (Entered: 05/24/2023)
05/24/2023        Notification of Docket Correction re 36 REPORT AND RECOMMENDATION re 28
                  MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM filed by Emory
                  University, 10 First MOTION to Dismiss filed by Emory University. (jkb) (Entered:
                  05/24/2023)
06/21/2023        Submission of 37 REPORT AND RECOMMENDATION re 28 MOTION TO
                  DISMISS FOR FAILURE TO STATE A CLAIM filed by Emory University, 10 First
                  MOTION to Dismiss filed by Emory University to District Judge Thomas W. Thrash
                  Jr. (jeh) (Entered: 06/21/2023)
07/12/2023   39   ORDER adopts the Report and Recommendation as the judgment of the Court. The
                  Defendant's First Motion to Dismiss 10 is DENIED as moot. The Defendant's Second
                  Motion to Dismiss 28 is GRANTED in part and DENIED in part. This results in
                  DISMISSAL of Counts III and V (for retaliation), and allows Counts I, II, and IV (for
                  race and pregnancy discrimination) and Count VI (for punitive damages and expenses
                  of litigation) to proceed. Signed by Judge Thomas W. Thrash, Jr. on this 12th day of
                  July, 2023. (pdt) (Entered: 07/13/2023)
07/27/2023   40   ANSWER to 27 Amended Complaint by Emory University. Discovery ends on
                  12/26/2023.(Abrams, Brian) Please visit our website at http://www.gand.uscourts.gov
                  to obtain Pretrial Instructions. (Entered: 07/27/2023)
08/28/2023   41   JOINT PRELIMINARY REPORT AND DISCOVERY PLAN filed by Emory
                  University. (Abrams, Brian) (Entered: 08/28/2023)
08/28/2023   42   CERTIFICATE OF SERVICE of Defendant's Initial Disclosures by Emory
                  University.(Abrams, Brian) (Entered: 08/28/2023)
08/29/2023   43   SCHEDULING ORDER: re: 41 Joint Preliminary Report and Discovery Plan
                  Discovery ends on 12/26/2023. Signed by Magistrate Judge Justin S. Anand on
                  08/29/2023. (jkb) (Entered: 08/29/2023)
09/29/2023   44   CERTIFICATE OF SERVICE of Discovery by Emory University.(Abrams, Brian)
                  (Entered: 09/29/2023)
10/02/2023   45   APPLICATION for Admission of Rachel Feingold Pro Hac Vice (Application fee $
                  100, receipt number AGANDC−12923615).by Shanequa McCrae. (Wiggins, L'Erin)
                  Documents for this entry are not available for viewing outside the courthouse.
                  (Entered: 10/02/2023)
10/03/2023

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                  APPROVAL by Clerks Office re: 45 APPLICATION for Admission of Rachel
                  Feingold Pro Hac Vice (Application fee $ 100, receipt number AGANDC−12923615).
                  Attorney Rachel R. Feingold added appearing on behalf of Shanequa McCrae.
                  E−filing access may be requested after an order granting the application is entered.
                  (djs) (Entered: 10/03/2023)
10/04/2023   46   ORDER granting 45 Application for Admission Pro Hac Vice of Rachel Feingold.
                  Signed by Judge Thomas W. Thrash, Jr. on 10/04/2023. If the applicant does not have
                  CM/ECF access in the Northern District of Georgia already, they must request access
                  at http://pacer.gov. If they have electronically filed in this district in a previous case,
                  please omit this step.(jkb) (Entered: 10/04/2023)
10/04/2023        Clerk's Certificate of Mailing to Rachel Feingold re 46 Order on Application for
                  Admission PHV. (jkb) (Entered: 10/04/2023)
11/20/2023   47   Notice for Leave of Absence for the following date(s): 12/18, 12/19, 12/20, 12/21,
                  12/22, 12/25, 12/26, 12/27, 12/28, 12/29, by Rebecca Shanlever. (Shanlever, Rebecca)
                  (Entered: 11/20/2023)
12/20/2023   48   Consent MOTION for Extension of Time to Complete Discovery by Shanequa
                  McCrae. (Attachments: # 1 Text of Proposed Order)(Goddard, Megan) (Entered:
                  12/20/2023)
12/27/2023   49   ORDER granting 48 Motion for Extension of Time to Complete Discovery. Discovery
                  ends on 3/25/2024. All deadlines running from the end of discovery shall run from this
                  date. Signed by Magistrate Judge Justin S. Anand on 12/27/2023. (jkb) (Entered:
                  12/27/2023)
12/27/2023        Clerk's Certificate of Mailing to Rachel R. Feingold re 49 Order on Motion for
                  Extension of Time to Complete Discovery. (jkb) (Entered: 12/27/2023)
02/15/2024   50   Consent MOTION for Protective Order by Emory University. (Attachments: # 1 Text
                  of Proposed Order)(Abrams, Brian) (Entered: 02/15/2024)
02/20/2024   51   ORDER granting 50 Motion for Protective Order. Signed by Magistrate Judge Justin
                  S. Anand on 02/20/2024. (jkb) (Entered: 02/20/2024)
02/20/2024        Clerk's Certificate of Mailing to Rachel R. Feingold re 51 Order on Motion for
                  Protective Order. (jkb) (Entered: 02/20/2024)
03/19/2024   52   MOTION for Extension of Time to Complete Discovery by Shanequa McCrae.
                  (Attachments: # 1 Text of Proposed Order)(Goddard, Megan) (Entered: 03/19/2024)
03/19/2024   53   APPLICATION for Admission of Clela Errington Pro Hac Vice (Application fee $
                  100, receipt number AGANDC−13301738). with Brief In Support by Shanequa
                  McCrae. (Wiggins, L'Erin) Documents for this entry are not available for viewing
                  outside the courthouse. (Entered: 03/19/2024)
03/20/2024        APPROVAL by Clerks Office re: 53 APPLICATION for Admission of Clela
                  Errington Pro Hac Vice (Application fee $ 100, receipt number
                  AGANDC−13301738). Attorney Clela A. Errington added appearing on behalf of
                  Shanequa McCrae. E−filing access may be requested after an order granting the
                  application is entered. (esr) (Entered: 03/20/2024)
03/21/2024   54   ORDER granting 53 Application for Admission Pro Hac Vice of Clela Errington.
                  Signed by Judge Thomas W. Thrash, Jr. on 3/21/2024. If the applicant does not have


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                  CM/ECF access in the Northern District of Georgia already, they must request access
                  at http://pacer.gov. If they have electronically filed in this district in a previous case,
                  please omit this step.(jkb) (Entered: 03/21/2024)
03/21/2024        Clerk's Certificate of Mailing to Clela Errington re 54 Order on Application for
                  Admission PHV. (jkb) (Entered: 03/21/2024)
03/22/2024   55   ORDER directing the defendant to file its opposition to 52 MOTION for Extension of
                  Time to Complete Discovery by 3/28/2024. In the meantime, the discovery deadline is
                  stayed pending receipt of Defendants response and further order from the Court.
                  Signed by Magistrate Judge Justin S. Anand on 3/22/2024. (dmb) (Entered:
                  03/22/2024)
03/26/2024   56   NOTICE by Shanequa McCrae to Withdraw the Appearance of Rachel Feingold as
                  Counsel (Attachments: # 1 Exhibit A − Consent to Withdraw Rachel Feingold as
                  Counsel)(Goddard, Megan) (Entered: 03/26/2024)
03/28/2024   57   RESPONSE in Opposition re 52 MOTION for Extension of Time to Complete
                  Discovery filed by Emory University. (Abrams, Brian) (Entered: 03/28/2024)
04/02/2024   58   Notice for Leave of Absence for the following date(s): May 24−28, 2024, by Brian
                  Scott Abrams. (Abrams, Brian) (Entered: 04/02/2024)
04/04/2024   59   NOTICE by Shanequa McCrae re 55 Order, of Letter Requesting Leave to File Reply
                  to Defendant's Response to Plaintiff's Motion for Extension of Discovery Deadline
                  (Goddard, Megan) (Entered: 04/04/2024)
04/05/2024   60   Notice for Leave of Absence for the following date(s): 05/17/2024 − 05/21/2024,
                  07/01/2024 − 07/05/2024, 07/08/2024 − 07/12/2024 by Rebecca Shanlever.
                  (Shanlever, Rebecca) Modified on 4/8/2024 (jkb). (Entered: 04/05/2024)
04/11/2024   61   ORDER, The parties are ordered to participate in a teleconference. Discovery Hearing
                  set for 4/16/2024 at 10:00 AM teleconference before Magistrate Judge Justin S.
                  Anand. Signed by Magistrate Judge Justin S. Anand on 4/11/2024. (jkb) (Entered:
                  04/11/2024)
04/16/2024        Submission of 52 MOTION for Extension of Time to Complete Discovery , to
                  Magistrate Judge Justin S. Anand. (hfm) (Entered: 04/16/2024)
04/16/2024   62   Minute Entry for proceedings held before Magistrate Judge Justin S. Anand:
                  Telephone Conference held on 4/16/2024. granting 52 Motion for Extension of Time
                  to Complete Discovery( Discovery ends on 6/17/2024.); (Tape #AT & T
                  Conference)(jkb) (Entered: 04/16/2024)
06/21/2024   63   Consent MOTION for Extension of Time to File Its Motion for Summary Judgment by
                  Emory University. (Attachments: # 1 Text of Proposed Order)(Shanlever, Rebecca)
                  (Entered: 06/21/2024)
06/21/2024   64   ORDER granting 63 Motion for Extension of Time to File Motions for Summary
                  Judgment until 8/16/2024. Signed by Magistrate Judge Justin S. Anand on 6/21/2024.
                  (bgt) (Entered: 06/21/2024)
08/08/2024   65   Notice for Leave of Absence for the following date(s): Sept. 18−20, 2024, by Brian
                  Scott Abrams. (Abrams, Brian) (Entered: 08/08/2024)
08/16/2024   66   DEPOSITION of Shanequa McCrae taken on March 22, 2024 by Emory University.
                  (Attachments: # 1 Exhibit S. McCrae Deposition Exhibit 1, # 2 Exhibit S. McCrae

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                  Deposition Exhibit 2, # 3 Exhibit S. McCrae Deposition Exhibit 3, # 4 Exhibit S.
                  McCrae Deposition Exhibit 4, # 5 Exhibit S. McCrae Deposition Exhibit 5, # 6 Exhibit
                  S. McCrae Deposition Exhibit 6, # 7 Exhibit S. McCrae Deposition Exhibit 7, # 8
                  Exhibit S. McCrae Deposition Exhibit 8, # 9 Exhibit S. McCrae Deposition Exhibit 9,
                  # 10 Exhibit S. McCrae Deposition Exhibit 10, # 11 Exhibit S. McCrae Deposition
                  Exhibit 11, # 12 Exhibit S. McCrae Deposition Exhibit 12, # 13 Exhibit S. McCrae
                  Deposition Exhibit 13, # 14 Exhibit S. McCrae Deposition Exhibit 14, # 15 Exhibit S.
                  McCrae Deposition Exhibit 15, # 16 Exhibit S. McCrae Deposition Exhibit 16, # 17
                  Exhibit S. McCrae Deposition Exhibit 17, # 18 Exhibit S. McCrae Deposition Exhibit
                  18, # 19 Exhibit S. McCrae Deposition Exhibit 19, # 20 Exhibit S. McCrae Deposition
                  Exhibit 20, # 21 Exhibit S. McCrae Deposition Exhibit 21)(Shanlever, Rebecca)
                  (Entered: 08/16/2024)
08/16/2024   67   DEPOSITION of Kimberly Crow taken on May 22, 2024 by Emory University.
                  (Attachments: # 1 Exhibit 1 to K. Crow Deposition, # 2 Exhibit 2 to K. Crow
                  Deposition, # 3 Exhibit 3 to K. Crow Deposition, # 4 Exhibit 4 to K. Crow Deposition,
                  # 5 Exhibit 5 to K. Crow Deposition, # 6 Exhibit 6 to K. Crow Deposition, # 7 Exhibit
                  7 to K. Crow Deposition, # 8 Exhibit 8 to K. Crow Deposition, # 9 Exhibit 9 to K.
                  Crow Deposition, # 10 Exhibit 10 to K. Crow Deposition, # 11 Exhibit 11 to K. Crow
                  Deposition, # 12 Exhibit 12 to K. Crow Deposition, # 13 Exhibit 13 to K. Crow
                  Deposition, # 14 Exhibit 14 to K. Crow Deposition, # 15 Exhibit 15 to K. Crow
                  Deposition)(Shanlever, Rebecca) (Entered: 08/16/2024)
08/16/2024   68   DEPOSITION of Sharon Denny taken on June 12, 2024 by Emory University.
                  (Attachments: # 1 Exhibit 1 to S. Denny Deposition, # 2 Exhibit 2 to S. Denny
                  Deposition, # 3 Exhibit 3 to S. Denny Deposition, # 4 Exhibit 4 to S. Denny
                  Deposition)(Shanlever, Rebecca) (Entered: 08/16/2024)
08/16/2024   69   DEPOSITION of Mekeshua North taken on June 7, 2024 by Emory University.
                  (Attachments: # 1 Exhibit 1 to M. North Deposition, # 2 Exhibit 2 to M. North
                  Deposition, # 3 Exhibit 3 to M. North Deposition, # 4 Exhibit 4 to M. North
                  Deposition, # 5 Exhibit 5 to M. North Deposition, # 6 Exhibit 6 to M. North
                  Deposition, # 7 Exhibit 7 to M. North Deposition, # 8 Exhibit 8 to M. North
                  Deposition, # 9 Exhibit 9 to M. North Deposition, # 10 Exhibit 10 to M. North
                  Deposition, # 11 Exhibit 11 to M. North Deposition, # 12 Exhibit 12 to M. North
                  Deposition, # 13 Exhibit 13 to M. North Deposition, # 14 Exhibit 14 to M. North
                  Deposition)(Shanlever, Rebecca) (Entered: 08/16/2024)
08/16/2024   70   DEPOSITION of Karen Truesdale taken on May 16, 2024 by Emory University.
                  (Attachments: # 1 Exhibit 1 to K. Truesdale Deposition, # 2 Exhibit 2 to M. North
                  Deposition, # 3 Exhibit 3 to M. North Deposition, # 4 Exhibit 4 to M. North
                  Deposition, # 5 Exhibit 5 to M. North Deposition, # 6 Exhibit 6 to M. North
                  Deposition, # 7 Exhibit 7 to M. North Deposition, # 8 Exhibit 8 to M. North
                  Deposition, # 9 Exhibit 9 to M. North Deposition, # 10 Exhibit 10 to M. North
                  Deposition, # 11 Exhibit 11 to M. North Deposition)(Shanlever, Rebecca) (Entered:
                  08/16/2024)
08/16/2024   71   DEPOSITION of Dr. Kajal Patel taken on June 10, 2024 by Emory University.
                  (Attachments: # 1 Exhibit 1 to Dr. K. Patel Deposition, # 2 Exhibit 2 to Dr. K. Patel
                  Deposition, # 3 Exhibit 3 to Dr. K. Patel Deposition)(Shanlever, Rebecca) (Entered:
                  08/16/2024)
08/16/2024   72   MOTION for Summary Judgment with Brief In Support by Emory University.
                  (Attachments: # 1 Brief Emory University's Brief in Support of its Motion for

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                  Summary Judgment, # 2 Statement of Material Facts Emory University's Statement of
                  Undisputed Material Facts, # 3 Exhibit A − August 24, 2024 Email, # 4 Exhibit B −
                  Sept. 14, 2020 Email, # 5 Exhibit C − Oct. 6, 2020 Email, # 6 Exhibit D − Sept. 28,
                  2020 Email, # 7 Exhibit E Sept. 29, 2020 Email, # 8 Exhibit F − Redeployments
                  Email, # 9 Exhibit G − Sept 4, 2020 Email, # 10 Exhibit H − Sept. 15, 2020 Email, #
                  11 Exhibit I − Oct. 8, 2020 Email, # 12 Exhibit J − June 2, 2020 Crow Email, # 13 K.
                  Crow Declaration, # 14 S. Denny Declaration, # 15 M. North Declaration, # 16
                  Excerpts of S. McCrae Transcript for MSJ, # 17 Excerpts of K. Crow Transcript for
                  MSJ, # 18 Excerpts of S. Denny Transcript for MSJ, # 19 Excerpts of M. North
                  Transcript for MSJ, # 20 Excerpts of K. Truesdale Transcript for MSJ, # 21 Excerpts
                  of Dr. K. Patel Transcript for MSJ, # 22 2023−01−05 Emory − Ver. Resp. Obj. to
                  McCrae's 1st ROGs w Verification, # 23 2023−11−22 Plaintiff's Responses and
                  Objections to Defendant's First Set of Interrogatories)(Shanlever, Rebecca) −−Please
                  refer to http://www.gand.uscourts.gov to obtain the Notice to Respond to Summary
                  Judgment Motion form contained on the Court's website.−− (Entered: 08/16/2024)
08/28/2024   73   Consent MOTION for Extension of Time for Plaintiff to Respond to 72 Defendant's
                  Motion for Summary Judgment by Shanequa McCrae. (Attachments: # 1 Text of
                  Proposed Order Proposed Order)(Goddard, Megan) Modified on 8/29/2024 (bmr).
                  (Entered: 08/28/2024)
08/29/2024   74   ORDER granting 73 Consent MOTION for Extension of Time for Plaintiff to Respond
                  to Defendant's Motion for Summary Judgment. Plaintiff shall have until 9/20/2024 to
                  respond. Signed by Magistrate Judge Justin S. Anand on 08/29/2024. (bmr) (Entered:
                  08/29/2024)
09/20/2024   75   RESPONSE in Opposition re 72 MOTION for Summary Judgment filed by Shanequa
                  McCrae. (Goddard, Megan) (Entered: 09/20/2024)
09/20/2024   76   Response to Statement of Material Facts re 72 MOTION for Summary Judgment filed
                  by Shanequa McCrae. (Goddard, Megan) (Entered: 09/20/2024)
09/20/2024   77   NOTICE Of Filing Declaration of Megan S. Goddard by Shanequa McCrae re 75
                  Response in Opposition to Motion, 76 Response to Statement of Material Facts
                  (Attachments: # 1 Exhibit A − Deposition Excerpts of Shanequa McCrae, # 2 Exhibit
                  B − Exhibit 5 to Shanequa McCrae Deposition, # 3 Exhibit C − Exhibit 9 to Shanequa
                  McCrae Deposition, # 4 Exhibit D − Exhibit 10 to Shanequa McCrae Deposition, # 5
                  Exhibit E − Deposition Excerpts of Kimberly Crow, # 6 Exhibit F − Exhibit 6 to
                  Kimberly Crow Deposition, # 7 Exhibit G − Exhibit 9 to Kimberly Crow Deposition, #
                  8 Exhibit H − Deposition Excerpts of Karen Truesdale, # 9 Exhibit I − Exhibit 6 to
                  Karen Truesdale Deposition, # 10 Exhibit J − Exhibit 10 to Karen Truesdale
                  Deposition, # 11 Exhibit K − Deposition Excerpts of Sharon Denny, # 12 Exhibit L −
                  Deposition Excerpts of Mekeshua North, # 13 Exhibit M − Exhibit 2 to Mekeshua
                  North Deposition, # 14 Exhibit N − Exhibit 5 to Mekeshua North Deposition, # 15
                  Exhibit O − Exhibit 3 to Kajal Patel Deposition, # 16 Exhibit P − Declaration of
                  Shanequa McCrae)(Goddard, Megan) (Entered: 09/20/2024)
09/27/2024   78   Consent MOTION for Extension of Time for Defendant to File its Reply Brief
                  Supporting Motion for Summary Judgment re: 72 MOTION for Summary Judgment
                  by Emory University. (Attachments: # 1 Proposed Order)(Shanlever, Rebecca)
                  Modified on 9/30/2024 (bmr). (Entered: 09/27/2024)
09/30/2024   79   ORDER granting 78 Consent MOTION for Extension of Time for Defendant to File
                  its Reply Brief Supporting 72 Motion for Summary Defendant's reply brief is due


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                  October 18, 2024. Signed by Magistrate Judge Justin S. Anand on 9/30/2024. (JSA)
                  Modified on 10/1/2024 (bmr). (Entered: 09/30/2024)
10/18/2024   80   REPLY to Response to Motion re 72 MOTION for Summary Judgment filed by
                  Emory University. (Attachments: # 1 Exhibit Plaintiffs Initial Disclosures)(Shanlever,
                  Rebecca) (Entered: 10/18/2024)
10/18/2024   81   Response to Statement of Material Facts re 72 MOTION for Summary Judgment filed
                  by Emory University. (Shanlever, Rebecca) Modified on 10/21/2024 (bmr). (Entered:
                  10/18/2024)
10/21/2024        Submission of 72 MOTION for Summary Judgment to Magistrate Judge Justin S.
                  Anand. (bmr) (Entered: 10/21/2024)
12/11/2024   82   Notice for Leave of Absence for the following date(s): 12/28/24 − 01/06/25, 01/31/25
                  − 02/05/25, 03/03/25 − 03/11/25, by Rebecca Shanlever. (Shanlever, Rebecca)
                  Modified on 12/12/2024 (bmr). (Entered: 12/11/2024)
01/15/2025   83   Notice for Leave of Absence for the following date(s): Feb. 14−18, 2025, Mar. 17−18,
                  2025, by Brian Scott Abrams. (Abrams, Brian) (Entered: 01/15/2025)
01/29/2025   84   FINAL REPORT AND RECOMMENDATION re 21 Amended Complaint. Signed by
                  Magistrate Judge Justin S. Anand on 1/29/2025. (tcc) (Entered: 01/29/2025)
01/29/2025        FINAL REPORT AND RECOMMENDATION (found in 84 Final Report and
                  Recommendation).IT IS RECOMMENDED that Defendant's Motion for Summary
                  Judgment 72 be GRANTED IN PART, DENIED IN PART. Specifically, IT IS
                  RECOMMENDED that Defendant's Motion for Summary Judgment 72 be
                  GRANTED as to any theories of race discrimination under Title VII and § 1981 in
                  Counts I and IV of the Second Amended Complaint premised on Plaintiff's assignment
                  to the temperature monitoring station, lack of redeployment, or any conduct prior to
                  October 2020. IT IS FURTHER RECOMMENDED that the Defendant's Motion for
                  Summary Judgment 72 be GRANTED as to any theories of pregnancy discrimination
                  under Title VII in Count II of the Second Amended Complaint also premised on
                  Plaintiff's assignment to the temperature monitoring station, lack of redeployment, or
                  any conduct prior to October 2020. IT IS RECOMMENDED that Defendant's Motion
                  for Summary Judgment 72 be DENIED as to any theories of race discrimination under
                  Title VII and § 1981 in Counts I and IV of the Second Amended Complaint premised
                  on Defendant's decision to recall Plaintiff into the clinic for in−person work. IT IS
                  FURTHER RECOMMENDED that Defendant's Motion for Summary Judgment 72 be
                  DENIED as to any theories of pregnancy discrimination under Title VII in Count II of
                  the Second Amended Complaint premised on Defendant's decision to recall Plaintiff
                  into the clinic for in−person work. As this is a Final Report and Recommendation,
                  there is nothing further in this action pending before the undersigned. Accordingly, the
                  Clerk is DIRECTED to terminate the reference of this matter to the undersigned.
                  Signed by Magistrate Judge Justin S. Anand on 1/29/2025. (tcc) (Entered: 01/29/2025)
01/29/2025   85   ORDER for Service of 84 Final Report and Recommendation by Magistrate Judge
                  Justin S. Anand. Each party may file written objections to the Report &
                  Recommendation within 14 days of service. If no objections are filed, the Report &
                  Recommendation may be adopted as the opinion and order of the District Court.
                  Signed by Magistrate Judge Justin S. Anand on 1/29/2025. (tcc) (Entered: 01/29/2025)
02/05/2025   86   Consent MOTION for Extension of Time to File Objections to the Report and
                  Recommendation re: 84 FINAL REPORT AND RECOMMENDATION re 21


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                  Amended Complaint, filed by Shanequa McCrae by Emory University. (Attachments:
                  # 1 Text of Proposed Order)(Abrams, Brian) (Entered: 02/05/2025)
02/06/2025   87   ORDER: This matter is before the Court on Defendant Emory University's 86 Consent
                  Motion for Extension of Time to File Objections to the Report and Recommendation.
                  Having read and considered the Motion and for good cause shown, the Court
                  GRANTS the Motion and ORDERS that the deadline for Defendant to file objections
                  to the Report and Recommendation is extended to Friday, February 21, 2025. Signed
                  by Judge Thomas W. Thrash, Jr. on 2/6/2025. (tcc) (Entered: 02/06/2025)
02/21/2025   88   OBJECTIONS to 84 Report and Recommendation on Motion for Summary Judgment
                  filed by Emory University. (Shanlever, Rebecca) (Entered: 02/21/2025)
02/28/2025        Submission of 84 FINAL REPORT AND RECOMMENDATION re 21 Amended
                  Complaint filed by Shanequa McCrae to District Judge Thomas W. Thrash Jr. (jeh)
                  (Entered: 02/28/2025)
03/07/2025   89   REPLY to Objection to Report and Recommendation re 88 Objections to Report and
                  Recommendation on a Motion for Summary Judgment filed by Shanequa McCrae.
                  (Goddard, Megan) (Entered: 03/07/2025)
03/11/2025   90   ORDER: The Court declines to adopt the 84 Final Report and Recommendation to the
                  extent that it recommends denying the Defendant's Motion for Summary Judgment
                  based upon the recall of McCrae to in−person work in October 2020. Otherwise, the
                  Court approves and adopts the 84 Final Report Report and Recommendation as the
                  judgment of the Court. The Defendant's 72 Motion for Summary Judgment is
                  GRANTED. Signed by Judge Thomas W. Thrash, Jr. on 3/11/2025. (tcc) (Entered:
                  03/11/2025)
03/11/2025        Civil Case Terminated. (tcc) (Entered: 03/11/2025)
03/11/2025   91   CLERK'S JUDGMENT entered in favor of defendant for its costs of this action.
                  (tcc)−−Please refer to http://www.ca11.uscourts.gov to obtain an appeals jurisdiction
                  checklist−− (Entered: 03/11/2025)
04/09/2025   92   NOTICE OF APPEAL as to 91 Clerk's Judgment, 90 Order on Motion for Summary
                  Judgment,, Order on Final Report and Recommendation,,, by Shanequa McCrae. Case
                  Appealed to USCA − 11th Circuit. Filing fee $ 605, receipt number
                  AGANDC−14210630. Transcript Order Form due on 4/23/2025 (Goddard, Megan)
                  (Entered: 04/09/2025)




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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

SHANEQUA MCCRAE,                        :   CIVIL ACTION NO.
                                        :   1:22-CV-3401-TWT-JSA
            Plaintiff,                  :
                                        :
            v.                          :
                                        :
EMORY UNIVERSITY,                       :   FINAL      REPORT      AND
                                        :   RECOMMENDATION ON A
            Defendant.                  :   MOTION FOR SUMMARY JUDGMENT

      Plaintiff Shanequa McCrae (“McCrae” or “Plaintiff”) filed the above-

captioned action on August 23, 2022. In her Second Amended Complaint [27],

Plaintiff alleges that Defendant Emory University (“Emory” or “Defendant”), her

former employer, discriminated against her on the basis of race and pregnancy in

violation of Title VII of the Civil Rights Act of 1964 (“Title VII”), 42 U.S.C.

§§ 2000e, et seq, as amended by the Pregnancy Discrimination Act of 1978, 42

U.S.C. § 2000e(k), and the Civil Rights Act of 1866 (“§ 1981”), 42 U.S.C. § 1981.

      The action is before the Court on Defendant’s Motion for Summary

Judgment [72]. For the reasons discussed below, the Court RECOMMENDS that

Defendant’s Motion for Summary Judgment [72] be GRANTED IN PART,

DENIED IN PART.

I.    FACTS

      Unless otherwise indicated, the Court draws the following facts from

“Defendant’s Statement of Undisputed Material Facts in Support of its Motion for


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Summary Judgment” [72-2] (“Def. SMF”) and “Plaintiff’s Rule 56.1 Statement and

Response to Defendant’s Statement of Material Facts” [76] (“Pl. SMF”), and their

associated exhibits. The Court may also draw some facts from “Defendant’s

Response to Plaintiff’s Statement of Material Facts” [81] (“Def. Resp. SMF”).

      For those facts submitted by Defendant that are supported by citations to

record evidence, and for which Plaintiff has not expressly disputed with citations to

record evidence, the Court must deem those facts admitted, pursuant to Local Rule

56.1(B). See LR 56.1(B)(2)(a)(2), NDGa (“This Court will deem each of the

movant’s facts as admitted unless the respondent: (i) directly refutes the movant’s

fact with concise responses supported by specific citations to evidence (including

page or paragraph number); (ii) states a valid objection to the admissibility of the

movant’s fact; or (iii) points out that the movant’s citation does not support the

movant’s fact or that the movant’s fact is not material or otherwise has failed to

comply with the provisions set out in LR 56.1(B)(1).”). Accordingly, for those facts

submitted by Defendant that Plaintiff has failed to dispute with citations to record

evidence, the Court must accept the facts as true, so long as the facts are supported

by citations to record evidence, do not make credibility determinations, and do not

involve legal conclusions. See E.E.O.C. v. Atlanta Gastroenterology Assocs., LLC,

No. CIV. A. 1:05-CV-2504-TWT, 2007 WL 602212, at *3 (N.D. Ga. Feb. 16, 2007).

      The Court has excluded assertions of fact by either party that are clearly

immaterial, or presented as arguments or legal conclusions, and has excluded

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assertions of fact unsupported by a citation to admissible evidence in the record or

asserted only in a party’s brief and not in its statement of facts. See LR 56.1(B)(1),

NDGa (“The court will not consider any fact: (a) not supported by a citation to

evidence . . . or (d) set out only in the brief and not in the movant’s [or respondent’s]

statement of undisputed facts.”). See also LR 56.1(B)(2)(b) (respondent’s statement

of facts must also comply with LR 56.1(B)(1)). The Court has nevertheless viewed

all evidence and factual inferences most favorably to the non-movant. Matsushita

Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986); McCabe v.

Sharrett, 12 F.3d 1558, 1560 (11th Cir. 1994); Reynolds v. Bridgestone/Firestone,

Inc., 989 F.2d 465, 469 (11th Cir. 1993).

      A.     Plaintiff’s Employment Background and the Start of COVID-19

      In November 2018, Emory hired Plaintiff, a Black woman, as a Licensed

Practical Nurse II (“LPN”) in its Student Health Clinic. Def. SMF [72-2] ¶ 1. An

LPN assists physicians and registered nurses; works with blood, bodily fluids, and

other potentially infectious materials; and administers injections, IVs, medications,

and treatments. Id. ¶¶ 2-4. Plaintiff regularly worked with one physician, Dr. Dawn

Mielke. Id. ¶ 5. Plaintiff worked at Emory’s Student Health Clinic through March

2020, the beginning of the COVID-19 pandemic. Id. ¶ 8. During this time, Plaintiff’s

child’s daycare had closed, and Emory permitted Plaintiff to work remotely. Id. ¶ 9.

From home, Plaintiff participated in morning nursing meetings, handled medication

refills, and answered patient questions, although the work was “very seldom.” Id. ¶

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9. When there was no work to be done, Emory placed Plaintiff, along with other

employees, on “paid-not-work” status so that she was paid for a 40-hour workweek.

Id. ¶ 10; Pl. SMF [76] ¶ 10. Sharon Denny (“Denny”), a White LPN, was also

permitted to work from home because of her severe asthma. Def. SMF ¶ 11.

      B.     Plaintiff’s Return to In-Person Work and COVID-19 Restrictions

      In March 2020, Kimberly Crow (“Crow”) became Director of Nursing for

Student Health and Plaintiff’s direct supervisor. Id. ¶ 13. In April 2020, because of

changing workflows, Crow directed her entire team (including Plaintiff) to complete

a daily questionnaire about telemedicine workflow, logging their hours. Id. ¶ 14.

Crow asked all the nurses if they were interested in working extra hours on nights or

weekends doing COVID-19 contact tracing, but Plaintiff never volunteered for such

duties. Id. ¶¶ 15-16.

      Plaintiff returned to in-person work at the clinic on June 23, 2020, after her

child’s daycare reopened. Id. ¶ 17. Denny, aged sixty-four, did not return to work

because of her age and health conditions. Id. ¶ 18. By the time Plaintiff returned to

work, Emory had created a separate COVID-19 clinic for student patients with

respiratory issues who needed COVID-19 testing. Id. ¶ 19. Emory also created a

temperature monitoring station where it screened incoming patients. Id. At this

station, an employee asked screening questions, took temperatures, and directed

patients accordingly based on their symptoms, in a process that took between thirty

seconds and two minutes. Id. ¶ 22. Emory also pre-screened patients for symptoms

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over the telephone. Id. ¶ 21. In the regular Student Health Clinic, LPNs wore N95

masks with a face shield and were permitted to wear an extra mask, which Plaintiff

did when working there. Id. ¶ 23. At the temperature monitoring station, LPNs also

wore gowns and gloves. Id. ¶ 24.

      On July 20, 2020, because of patient volume, Crow—who was unaware that

Plaintiff was pregnant—directed Plaintiff to work in the COVID-19 clinic. Def.

SMF ¶ 39. Plaintiff did not feel safe due to the health risks but stated that she was

“willing to perform all other job duties within the student health clinic.” Id. ¶¶ 39-

40; McCrae Dep., Ex. 9 [66-9] at 1. At that time, Plaintiff filled out Emory’s

COVID-19 Attestation Form, stating that she was pregnant and was asking “to be

exempt from working in COVID clinics/COVID patients.” Def. SMF ¶ 41; McCrae

Dep., Ex. 10 [66-10]. Plaintiff submitted a doctor’s note, from Dr. Kajal Patel,

recommending that Plaintiff be exempted from working with COVID-19 patients

because of her pregnancy, be afforded personal protective equipment and other

precautions, and “if teleworking is an option, she should be allowed to work from

home as much as her schedule would permit.” Def. SMF ¶ 44; McCrae Dep., Ex.

11 [66-11].

      Crow exempted Plaintiff from working in the COVID-19 clinic, and Plaintiff

never worked in that location. Def. SMF. ¶ 42. At this time, Plaintiff did not ask for

other accommodations due to her pregnancy; however, on the Attestation form,

Plaintiff noted she would need allotted times for eating/snacking. Pl. SMF ¶ 43;

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McCrae Dep., Ex. 10. Although at the time Plaintiff indicated that she could work

“all other duties” except for within the COVID-19 clinic, she later testified that, in

practice, Emory’s COVID-19 protocols did not entirely prevent all contact with

potentially infected patients in other areas. Def. SMF ¶ 40; McCrae Dep. [66] at

218:3-10.

      According to Plaintiff, she suffered from a pregnancy-related condition,

hyperemesis gravidarum, which Plaintiff claims gave rise to a particular need for

frequent snack breaks. See Pl. SMF ¶ 108; McCrae Dep. at 61:2-25. However, the

cited evidence does not show that this specific condition was discussed in Dr. Patel’s

notes or was mentioned to Emory at the time. Pl. SMF ¶ 108 (citing McCrae Dep. at

271:6-274:3). The doctor’s note also does not appear to contain any reference to any

eating-related accommodation. See McCrae Dep., Ex. 11. Plaintiff’s Attestation

form generally referred to the fact of her pregnancy and on that basis, she requested

exemption from working with COVID patients and “regular allotted times for

eating/snacking/a lunch break.” McCrae Dep., Ex. 10 at 1-2. Plaintiff’s Statement of

Facts does not refer to any specific eating schedule that was requested or denied;

however, the testimony cited indicates that during a meeting, Crow asked Plaintiff,

“what do you mean you can’t wait to eat until 3:00 o’clock…what do you mean you

can’t hold out. Are you kidding me?” McCrae Dep. at 272:1-9. Plaintiff also stated

that Crow “scrutinized” her for leaving her nurse’s station to eat but also instructed

her not to eat at the nurse’s station. Id. at 273:19-274:3. Crow also made critical

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comments in an August 2020 performance review, after Plaintiff had disclosed her

pregnancy, that Plaintiff was “often” eating at her desk. Pl. SMF ¶ 110; See Crow

Dep. [67] at 52:4-53:12.

      C.     Plaintiff’s Return to Remote Work

      On August 13, 2020, Crow announced the resumption of the Student Health

Clinic’s Fall operating hours. Def. SMF ¶ 48. Plaintiff responded that the hours “do

not work for [her]” because of her child’s daycare hours and requested late arrival

and early departure. Id. ¶ 49. Crow agreed, and reminded Plaintiff that she could use

Emory’s paid COVID-19 Childcare Leave to supplement any missing time. Id. ¶¶

49-50. Plaintiff then decided to remove her child from daycare and enroll her in a

different school that required more virtual hours to reduce their risk of exposure to

COVID. Id. ¶¶ 51-52; McCrae Dep. at 86:4-16. Plaintiff requested to work remotely

to be with her child for virtual schooling and Crow approved Plaintiff to work from

home beginning mid-September. Def. SMF ¶¶ 52-55. Plaintiff testified that the

discussion about working from home at this time included the projection that she

would not return to work until after giving birth. McCrae Dep. at 87:7-10.

      Around this time, Crow approved Ashley Robinson’s (“Robinson”)—another

Black LPN who was not pregnant—request to work from home because of childcare

issues. Def. SMF ¶ 57. Crow contacted human resources to find additional work for

the three remote-working nurses (Plaintiff, Robinson, and Denny) to perform. Id. ¶

58. After Crow cautioned Plaintiff that there might not be enough virtual work for a

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full-time 40-hour work week, Plaintiff contacted human resources about potential

redeployment assignments. Id. ¶ 60. Redeployment assignments served as an option

for underutilized staff in departments who were willing to work outside their typical

areas and had little work to do, given that many students at this time were off

campus. Id. ¶ 61. However, Student Health LPNs were considered “crucial” and

were not eligible for redeployment. Id. ¶¶ 61-63. Plaintiff does not know which

employees were redeployed and is unaware of whether any LPNs were redeployed.

Id. ¶¶ 65-66.

      While the three nurses were working from home, Denny spoke at least daily

with Crow or other supervisors about her assignments and the work she was doing.

Def. SMF ¶ 72. In contrast, Plaintiff and Robinson took issue with Crow asking for

status updates. Id. ¶ 73. Crow created a chart to keep track of remote tasks and asked

that the three nurses complete the chart each day. Id. ¶ 76. Plaintiff filled out the

chart once and thereafter told Crow that Crow should instead examine the individual

Electronic Medical Stamps of her work in the system to verify that she was

performing work. Def. SMF ¶ 77; Pl. SMF ¶ 77; see McCrae Dep. at 65:21-67:4,

131:18-135:3. Plaintiff’s refusal to complete the log led Crow to have concerns

about Plaintiff’s work output and whether Plaintiff was completing a full 40-hour

week. Def. SMF ¶¶ 77, 87. Plaintiff felt like Crow was “micromanaging” her and

accusing her of not working, partly due to the demands of Plaintiff having her child

at home. Pl. SMF ¶ 111; see McCrae Dep. at 64:15-66:11. Crow did not accuse

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Denny of not working the required hours, which according to Crow, was because

Denny recorded her tasks on the spreadsheet as asked. See Crow Dep. at 78:21-80:1.

        D.    Emory’s Request that Plaintiff Return, Plaintiff’s Leave, and
              Plaintiff’s Subsequent Resignation

        In the meantime, the workload demands of the Student Health Clinic had

grown, and Emory was seeking to hire another, full-time nurse to fill the staffing

needs in the office. Def. SMF ¶ 88. On or about October 8, 2020, Crow also informed

Plaintiff and Robinson that “due to the needs of the clinic and work from home

volumes, [their remote working] arrangement can no longer be supported.” Id. ¶ 89;

Crow Dep. at 91:17-92:20. Thus, Crow instructed Plaintiff and Robinson, who were

both Black, but only one of which (Plaintiff) was pregnant or otherwise requested

accommodations, to return to the office on Monday, October 19, 2020. Def. SMF ¶¶

89, 90. Denny, who was White, and who was not pregnant but had indicated that she

suffered from other health problems, was permitted to remain working remotely. Id.

¶ 91. On October 9, 2020, Plaintiff sent an email complaining about Crow, alleging

racial discrimination. Pl. SMF ¶ 116.1 Emory’s Human Resources Department did


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  Plaintiff separately complained about Crow in July 2020, but Plaintiff’s Statement
of Facts does not state that this complaint was on the basis of race or pregnancy
discrimination. See Pl. SMF ¶ 126. The Court also notes that other Emory
employees, including Robinson, have lodged complaints against Crow, including on
grounds of race. Id. ¶¶ 125, 127. Generally, unsworn, third-party hearsay complaints
by themselves may not be admissible to show race discrimination. Macuba v.
Deboer, 193 F.3d 1316, 1322 (11th Cir.1999) (“The general rule is that inadmissible
hearsay cannot be considered on a motion for summary judgment.”). However, the
Court need not make any final determinations in that regard because as discussed
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not investigate this complaint but forwarded it to Emory’s Department of Equity and

Inclusion (“DEI”); Emory’s DEI found that the charge was unsupported. Pl. SMF ¶¶

117-18; Def. Resp. SMF [81] ¶ 117.

      Plaintiff refused to return to work as directed because she would have had to

pay more for childcare and because she feared COVID-19. Def. SMF ¶ 93. Plaintiff

exhausted her paid COVID-19 Childcare Leave, paid vacation, and sick leave

through November 18, 2020. Id. ¶ 94. On October 30, 2020, Plaintiff, who was still

pregnant, obtained a note from her OB/GYN stating, “I feel it would be preferable

to her to work remotely due to COVID-19.” Id. ¶ 95; McCrae Dep., Ex. 16 [66-16].

Emory sought clarification from the doctor to confirm whether this request for

remote work was medically necessary or, rather, just “preferred.” Def. SMF ¶ 96;

Truesdale Dep., Ex. 6 [70-6] at 3. The doctor responded that the request was

preferred, not “necessary.” Truesdale Dep., Ex. 6 at 1. Thus, Emory explained to

Plaintiff that it could not honor the request to work remotely for a mere preference,

and it offered her two options to return in person: (1) to return to the office full-time

in her former position as a LPN, or (2) to return full-time as a temperature screener

at the front door of the lobby (not within the COVID-19 clinic), in a role that “does

not require you to touch patients-only to speak to them and take their temp all while

wearing the appropriate PPE.” Def. SMF ¶ 97; McCrae Dep., Ex. 17 [66-17] at 1-2.


below, there are other facts that support denial of summary judgment on grounds of
race discrimination.

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Plaintiff did not accept any of these offers. Def. SMF ¶¶ 98-99. Instead, Plaintiff

took unpaid FMLA leave and other unpaid leave through the remainder of her

pregnancy; after giving birth, Plaintiff took paid parental leave. Id. ¶¶ 98-100.

Plaintiff returned to work as an LPN in May 2021 and voluntarily resigned in August

2021. Id. ¶ 101. Emory’s Human Resources officer, Karen Truesdale (“Truesdale”),

told Plaintiff both verbally and via email in November 2020 that she (Truesdale)

would look into potential further telework options for Plaintiff, but apparently

nothing further was offered. Pl. SMF ¶¶ 128-129; Truesdale Dep., Ex. 10 [70-10];

McCrae Decl. [77-16] ¶ 23.

      As noted above, Denny, a White LPN who shared the same supervisors as

Plaintiff, was allowed to keep working from home on basis of health conditions but

was not required to present any doctor’s note or other evidence of medical needs. Pl.

SMF ¶¶ 118, 119. On the other hand, Plaintiff was told that her request to remain on

telework status was denied based on the doctor’s acknowledgement that it was

merely a “preference.” Def. SMF ¶¶ 96-97. When Plaintiff asked the doctor for

clarification, the doctor and his assistant stated that they were not “getting in between

HR and her.” Id. Pl. SMF ¶ 123. Plaintiff was later diagnosed with gestational

diabetes from a different provider, although Plaintiff’s Statement of Facts does not

state whether this information was transmitted to Emory as part of any renewed

request for accommodations. Id. ¶ 124.



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      When Plaintiff returned to work in May 2021, after she delivered her baby

and took parental leave, Plaintiff perceived that “Crow’s treatment of her had not

changed despite the fact that [Plaintiff] was working in person.” Id. ¶ 130. As noted

above, Plaintiff voluntarily resigned three months later in August. Def. SMF ¶ 101.

      E.     Procedural History

      The Court previously dismissed Plaintiff’s claims of retaliation and any

claims based on theories of constructive discharge and/or disparate impact. See

Report and Rec. [37]; Order [39]. However, the Court allowed Plaintiff’s race and

pregnancy discrimination claims based on “alleged disparate treatment

discrimination in relation to Plaintiff’s work assignments,” along with Plaintiff’s

claim for punitive damages and expenses of litigation, to proceed past the motion to

dismiss stage. See Report and Rec. [37]; Order [39].

II.   DISCUSSION

      A.     Summary Judgment Standard

      Summary judgment is authorized when “the movant shows that there is no

genuine dispute as to any material fact and the movant is entitled to judgment as a

matter of law.” Fed. R. Civ. P. 56(a); see Dietz v. Smithkline Beecham Corp., 598

F.3d 812, 815 (11th Cir. 2010). The party seeking summary judgment bears the

burden of demonstrating the absence of a genuine dispute as to any material fact.

See Adickes v. S. H. Kress & Co., 398 U.S. 144, 175 (1970); Bingham, Ltd. v. United

States, 724 F.2d 921, 924 (11th Cir. 1984). The movant carries this burden by

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showing the court that there is “an absence of evidence to support the nonmoving

party’s case.” Celotex Corp. v. Catrett, 477 U.S. 317, 325 (1986). In making its

determination, the court must view the evidence and all factual inferences in the light

most favorable to the nonmoving party. See Jurich v. Compass Marine, Inc., 764

F.3d 1302, 1304 (11th Cir. 2014).

      Once the movant has adequately supported its motion by citing to materials in

the record, the party opposing summary judgment must come forward with specific

facts that demonstrate the existence of a genuine issue for trial. Matsushita Elec.

Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986). The nonmoving party

is required “to go beyond the pleadings” and to present competent evidence

designating “specific facts showing that there is a genuine issue for trial.” Celotex,

477 U.S. at 324. Generally, “[t]he mere existence of a scintilla of evidence”

supporting the nonmoving party’s case is insufficient to defeat a motion for summary

judgment. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 252 (1986).

      If a fact is found to be material, the court must also consider the genuineness

of the alleged factual dispute. Id. An issue is not genuine if it is unsupported by

evidence, or if it is created by evidence that is “merely colorable” or is “not

significantly probative.” Id. at 250. A dispute is genuine “if the evidence is such that

a reasonable jury could return a verdict for the nonmoving party.” Id. at 242.

Moreover, for factual issues to be genuine, they must have a real basis in the record.

Matsushita, 475 U.S. at 587. The nonmoving party “must do more than simply show

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that there is some metaphysical doubt as to the material facts.” Id. at 586. “Where

the record taken as a whole could not lead a rational trier of fact to find for the non-

moving party, there is no ‘genuine issue for trial.’” Id. at 587 (quoting First Nat’l

Bank of Ariz. v. Cities Serv. Co., 391 U.S. 253, 289 (1968)). Thus, the standard for

summary judgment mirrors that for a directed verdict: “whether the evidence

presents a sufficient disagreement to require submission to a jury or whether it is so

one-sided that one party must prevail as a matter of law.” Anderson, 477 U.S. at 259.

      When considering motions for summary judgment, the court does not make

decisions as to the merits of disputed factual issues. See Anderson, 477 U.S. at 249;

Ryder Int’l Corp. v. First Am. Nat’l Bank, 943 F.2d 1521, 1523 (11th Cir. 1991).

Rather, the court only determines whether there are genuine issues of material fact

to be tried. Applicable substantive law identifies those facts that are material and

those that are irrelevant. Anderson, 477 U.S. at 248. Disputed facts that do not

resolve or affect the outcome of a suit will not properly preclude the entry of

summary judgment. Id.

      B.     Plaintiff’s Claims

      Plaintiff has three remaining claims against Defendant. First, Plaintiff asserts

that Defendant discriminated against her based on her race in violation of both Title

VII and § 1981. Sec. Am. Compl. [27] ¶¶ 130-35, 148-52. Plaintiff further asserts

that Defendant discriminated against her based on her pregnancy in violation of Title



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VII, as amended by the Pregnancy Discrimination Act. Id. ¶¶ 136-41. Defendant has

moved for summary judgment on all of Plaintiff’s claims.

             1.     Standards of Proof under Title VII and § 1981

      Title VII makes it unlawful for an employer “to fail or refuse to hire or to

discharge any individual, or otherwise to discriminate against any individual with

respect to his compensation, terms, conditions, or privileges of employment, because

of such individual’s race, color, religion, sex, or national origin.” 42 U.S.C. § 2000e-

2(a)(1). Title VII also prohibits employers from retaliating against employees

because of their opposition to practices made unlawful under the statute or their

participation in related proceedings. Id. at § 2000e-3(a).

      Similarly, § 1981 provides that “[a]ll persons . . . shall have the same right in

every State and Territory to make and enforce contracts . . . as is enjoyed by white

citizens[.]” 42 U.S.C. § 1981(a). It is well-settled law that the statute prohibits race

discrimination in the context of employment. See Little v. United Techs., Carrier

Transicold Div., 103 F.3d 956, 961 (11th Cir. 1997); Brown v. Am. Honda Motor

Co., 939 F.2d 946, 949 (11th Cir. 1991) (“The aim of the statute is to remove the

impediment of discrimination from a minority citizen’s ability to participate fully

and equally in the marketplace.”); see also St. Francis College v. Al-Khazraji, 481

U.S. 604, 609 (1987) (“Although § 1981 does not itself use the word ‘race,’ the Court

has construed the section to forbid all ‘racial’ discrimination in the making of private

as well as public contracts.”). Further, § 1981 encompasses claims of race-based

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retaliation. See CBOCS West, Inc. v. Humphries, 553 U.S. 442, 445 (2008); Bryant v.

Jones, 575 F.3d 1281, 1301 (11th Cir. 2009).

      For employment claims, the elements required to establish a claim under

§ 1981 generally mirror those required for a Title VII claim. See Chapter 7 Tr. v.

Gate Gourmet, Inc., 683 F.3d 1249, 1256-57 (11th Cir. 2012) (“Title VII and § 1981

‘have the same requirements of proof and use the same analytical framework.’”

(quoting Standard v. A.B.E.L. Servs., Inc., 161 F.3d 1318, 1330 (11th Cir. 1998)));

see also Howard v. B.P. Oil Co., 32 F.3d 520, 524 n.2 (11th Cir. 1994); Brown, v.

Am. Honda Motor Co., 939 F.2d 946, 949 (11th Cir. 1991).

      To prevail on a claim for discrimination or retaliation, a plaintiff must prove

that the defendant acted with discriminatory or retaliatory intent. See Hawkins v.

Ceco Corp., 883 F.2d 977, 980 (11th Cir. 1989); Clark v. Huntsville City Bd. of

Educ., 717 F.2d 525, 529 (11th Cir. 1983). Discriminatory intent may be established

either by direct evidence or by circumstantial evidence. See Lewis v. City of Union

City, 918 F.3d 1213, 1220-21 (11th Cir. 2019). Similarly, proof of unlawful

retaliation may be in the form of direct evidence or circumstantial evidence generally

governed by the McDonnell Douglas burden-shifting framework. See Donnellon v.

Fruehauf Corp., 794 F.2d 598, 600 (11th Cir. 1986); see also Goldsmith v. City of

Atmore, 996 F.2d 1155, 1162-63 (11th Cir. 1993).

      Direct evidence is evidence “that is based on personal knowledge or

observation and that, if true, proves a fact without inference or presumption.”

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Evidence, Black’s Law Dictionary (11th ed. 2019); see also Clark v. Coats & Clark,

Inc., 990 F.2d 1217, 1226 (11th Cir. 1993); Carter v. City of Miami, 870 F.2d 578,

581-82 (11th Cir. 1989); Rollins v. TechSouth, Inc., 833 F.2d 1525, 1528 n.6 (11th

Cir. 1987). Only the most blatant remarks whose intent could only be to discriminate

constitute direct evidence. Fernandez v. Trees, Inc., 961 F.3d 1148, 1156 (11th Cir.

2020); Clark, 990 F.2d at 1226; Carter, 870 F.2d at 582. “[D]irect evidence relates

to actions or statements of an employer reflecting a discriminatory or retaliatory

attitude correlating to the discrimination or retaliation complained of by the

employee.” Caban-Wheeler v. Elsea, 904 F.2d 1549, 1555 (11th Cir. 1990)

abrogated on other grounds by St. Mary’s Honor Center v. Hicks, 509 U.S. 502, 513

(1993); see also Carter v. Three Springs Residential Treatment, 132 F.3d 635, 641-

42 (11th Cir. 1998).

      Evidence that merely “suggests discrimination, leaving the trier of fact to infer

discrimination based on the evidence” is, by definition, circumstantial. Earley v.

Champion Int’l Corp., 907 F.2d 1077, 1081-82 (11th Cir. 1990); see Harris v. Shelby

Cty. Bd. of Educ., 99 F.3d 1078, 1083 n.2 (11th Cir. 1996) (“given that . . . statements

could by inference have more than one possible meaning, [plaintiff] has not

presented direct evidence of discrimination”). Because direct evidence of

discrimination is seldom available, a plaintiff must typically rely on circumstantial

evidence to prove discriminatory intent, which can be done using the McDonnell

Douglas burden-shifting framework referenced above. See Holifield v. Reno, 115

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F.3d 1555, 1561-62 (11th Cir. 1997), abrogated on other grounds by Lewis, 918

F.3d at 1226; Combs v. Plantation Patterns, 106 F.3d 1519, 1527-28 (11th Cir.

1997). Under the McDonnell Douglas standard, a plaintiff may establish a prima

facie case of discrimination by showing that (1) she is a member of a protected class;

(2) she was subjected to an adverse employment action by her employer; (3) she was

qualified to do the job in question; and (4) her employer treated similarly situated

employees outside her protected classification (i.e., those of a different race) more

favorably than it treated her. Lewis, 918 F.3d at 1220-21; see McDonnell Douglas,

411 U.S. 792, 802 (1973). To establish a prima facie case of illegal retaliation, a

plaintiff must show that: (1) she engaged in a protected activity or expression,

(2) she received an adverse employment action, and (3) there was a causal link

between the protected expression and the adverse employment action. See, e.g.,

Knox v. Roper Pump Co., 957 F.3d 1237, 1244 (11th Cir. 2020); Chapter 7 Tr. v.

Gate Gourmet, Inc., 683 F.3d 1249, 1258 (11th Cir. 2012); Wideman v. Wal-Mart

Stores, Inc., 141 F.3d 1453, 1454 (11th Cir. 1998).

      Once a prima facie case has been established under the McDonnell Douglas

framework, the employer must come forward with a legitimate non-discriminatory

reason for its action. Lewis, 918 F.3d at 1221; Goldsmith, 996 F.2d at 1162-63;

Donnellon v. Fruehauf Corp., 794 F.2d 598, 600-01 (11th Cir. 1986). This is merely

a burden of production and not persuasion, and thus is an extremely light one. Tipton

v. Canadian Imperial Bank of Commerce, 872 F.2d 1491, 1495 (11th Cir. 1989). If

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the employer carries its burden of production to show a legitimate reason for its

action, the plaintiff then bears the burden of proving by a preponderance of the

evidence that the reason offered by the defendant is merely a pretext for

discrimination. Lewis, 918 F.3d at 1221; Goldsmith, 996 F.2d at 1162-63;

Donnellon, 794 F.2d at 600-01.

      However, the McDonnell Douglas proof structure was “never intended to be

rigid, mechanized, or ritualistic. Rather, it is merely a sensible, orderly way to

evaluate the evidence in light of common experience as it bears on the critical

question of discrimination.” United States Postal Serv. Bd. of Governors v. Aikens,

460 U.S. 711, 715 (1983); see also Grigsby v. Reynolds Metals Co., 821 F.2d 590,

594 (11th Cir. 1987). The Eleventh Circuit has held that this framework of shifting

burdens of proof is a valuable tool for analyzing evidence in cases involving alleged

disparate treatment, but the framework is only a tool. Nix v. WLCY Radio/Rahall

Comm., 738 F.2d 1181, 1184 (11th Cir. 1984), abrogated on other grounds by Lewis,

918 F.3d at 1226. Indeed, “establishing the elements of the McDonnell Douglas

framework is not, and never was intended to be, the sine qua non for a plaintiff to

survive a summary judgment motion in an employment discrimination case.”

Smith v. Lockheed-Martin Corp., 644 F.3d 1321, 1328 (11th Cir. 2011).

      A plaintiff may also defeat a motion for summary judgment by presenting “a

convincing mosaic of circumstantial evidence that would allow a jury to infer

intentional discrimination by the decisionmaker.” Id. (internal quotation marks

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omitted). As such, the Eleventh Circuit has held that a “plaintiff’s failure to produce

a comparator does not necessarily doom the plaintiff’s case.” Lewis v. City of Union

City, 934 F.3d 1169, 1185 (11th Cir. 2019) (quoting Smith, 644 F.3d at 1328). “Even

without similarly situated comparators,” a plaintiff will survive summary judgment

if she presents a convincing mosaic of circumstantial evidence from which a

factfinder can infer discriminatory motivation. Id. The plaintiff retains the ultimate

burden of proving that the defendant is guilty of intentional discrimination. Texas

Dep’t of Cmty. Affairs v. Burdine, 450 U.S. 248, 253 (1981).

             2.     Counts I and IV – Race Discrimination

      In Counts I and IV of the Second Amended Complaint, Plaintiff asserts claims

of race discrimination in violation of Title VII and § 1981, alleging that Defendant

subjected her to disparate treatment “on the basis of her race regarding the terms and

conditions of her employment.” Sec. Am. Compl. ¶¶ 130-35, 148-52.

                    a.    Plaintiff’s Prima Facie Case

      Defendant argues that Plaintiff cannot establish a prima facie case of race

discrimination. Def. Br. [72-1] at 13-20. Defendant asserts that Plaintiff’s claims

regarding her assignment to the temperature monitoring station and lack of

redeployment do not show adverse actions, nor does Plaintiff present a valid

comparator for these instances. Id. at 13, 16-17. Regarding Plaintiff’s recall to in-

person work, Defendant again contends that Plaintiff lacks a valid comparator,

arguing that Denny and Plaintiff were not similarly situated. Id. at 18.

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      In response, Plaintiff generally argues that comparators are not required to

establish a prima facie case. Pl. Resp. Br. [75] at 9-10, 14. Nonetheless, Plaintiff

asserts that she has identified a valid comparator—Denny, the non-pregnant, White

nurse. Id. at 12, 17-18. Plaintiff further argues that Defendant applies an outdated

standard for an “adverse action” and asserts that a plaintiff “‘need show only some

injury respecting her employment terms or conditions,’ or in other words, a

‘disadvantageous change in an employment term or condition.’” Id. at 13 (citing

Muldrow v. City of St. Louis, 601 U.S. 346, 359 (2024)). Under this standard,

Plaintiff argues that working as an LPN at the height of the pandemic qualifies as

“disadvantageous” when compared to a working a redeployed position, either

“teleworking or working somewhere where one would not be exposed to COVID

patients.” Id.

      As explained above, Plaintiff relies on the following facts to support her

claims of race discrimination:

      After Plaintiff was directed to work in the COVID-19 clinic, she indicated that

she did not feel safe working in the clinic and informed Defendant that she was

“willing to perform all other job duties within the student health clinic.” Def. SMF

¶¶ 39-40; McCrae Dep., Ex. 9 at 1. Plaintiff then filled out Emory’s COVID-19

Attestation Form, stating that she was pregnant and was asking “to be exempt from

working in COVID clinics/COVID patients.” Def. SMF ¶ 41; McCrae Dep., Ex. 10.

Plaintiff also submitted a doctor’s note recommending that Plaintiff be exempted

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from working with COVID-19 patients because of her pregnancy, be afforded

personal protective equipment and other precautions, and “if teleworking is an

option, she should be allowed to work from home as much as her schedule would

permit.” Def. SMF ¶ 44; McCrae Dep., Ex. 11. Crow, Plaintiff’s supervisor,

ultimately exempted Plaintiff from having to work in the COVID-19 clinic, and

Plaintiff never worked there. Def. SMF. ¶ 42.

      In August 2020, Plaintiff requested to work from home, citing her child’s

virtual schooling. Def. SMF ¶ 52. Just before Plaintiff returned to remote work, she

inquired about “redeployment assignments” after Crow cautioned Plaintiff that there

might not be enough virtual work for full-time 40-hour work week. Id. ¶ 60.

However, Student Health LPNs, like Plaintiff, were considered “crucial” and were

not eligible for redeployment. Id. ¶¶ 61-63. Thus, Defendant did not give Plaintiff a

temporary redeployment assignment. Id. ¶ 64. Plaintiff ultimately began working

from home again on September 16, 2020. Id. ¶ 69.

      Eventually, Plaintiff was ordered to return to work in-person due to the needs

of the clinic and work from home volume. Id. ¶ 89 Plaintiff refused to return, in part

due to fear of COVID-19, and she submitted notes from her doctor to support her

request to continue working from home. Id. ¶¶ 93-95. However, Plaintiff’s doctor

indicated that it was a “preference” for Plaintiff to work remotely and Defendant

denied Plaintiff’s request. Id. ¶¶ 97-98. In contrast, Denny was allowed to continue

working from home due to her health conditions but was not required to present any

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doctor’s note or other evidence of medical needs. Pl. SMF ¶¶ 119, 122. Plaintiff

subsequently exhausted all of her leave. Def. SMF ¶¶ 94, 99-100.

      The Court finds that an issue of fact exists as to whether Plaintiff was

discriminated against based on her race when she was forced to return to work in-

person. As explained, under the McDonnell Douglas standard, a plaintiff may

establish a prima facie case of discrimination by showing that (1) she is a member

of a protected class; (2) she was subjected to an adverse employment action by her

employer; (3) she was qualified to do the job in question; and (4) her employer

treated similarly situated employees outside her protected classification (i.e., those

of a different race) more favorably than it treated her. See Lewis v. City of Union

City, 918 F.3d 1213, 1220-21 (11th Cir. 2019).

      First, as to Defendant recalling Plaintiff to work in-person, the Court finds

that Denny is valid comparator. To satisfy the comparator prong of a prima facie

case of discrimination, a plaintiff does not have to prove that “she and her

comparators are identical; save for their race or gender;” and it is not necessary that

a plaintiff and her comparators have “precisely the same [job] title[s]” or functions.

Lewis, 918 F.3d at 1127; Johnson v. Miami-Dade Cty., 948 F.3d 1318, 1326 n.7

(11th Cir. 2020). Rather, the “requirement is met when the plaintiff presents

‘evidence of a comparator—someone who is similarly situated in all material

respects.’” Tynes v. Florida Dep't of Juvenile Justice, 88 F.4th 939, 944 (11th Cir.

2023 (quoting Jenkins v. Nell, 26 F.4th 1243, 1249 (11th Cir. 2022)). To determine

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whether a plaintiff presents a valid, similarly situated comparator, the Court assesses

whether the comparator 1) engaged in the same basic conduct (or misconduct) as the

plaintiff; 2) was subject to the same employment, policy, guideline, or rule as the

plaintiff; 3) was under the same jurisdiction of the same supervisor as the plaintiff;

and 4) shared the plaintiff’s employment or disciplinary history. Lewis, 918 F.3d at

1227-28; McPhie v. Yeager, 819 F. App’x 696, 698 (11th Cir. 2020); Pearson v.

Georgia through Davis, 806 F. App’x 940, 949 (11th Cir. 2020). In this case, both

Denny and Plaintiff were LPNs and reported to Crow as their supervisor. See Denny

Decl. [72-14] ¶¶ 2, 6; see also Def. SMF ¶¶ 1, 13; Pl. SMF ¶ 120. Both Plaintiff and

Denny suffered from medical conditions that heightened their risk of exposure to

COVID-19. Def. SMF ¶ 11. Further, they both requested to work remotely and did

so during the onset of the pandemic. Def. SMF ¶¶ 11, 69.

      Thus, viewing the evidence in the light most favorable to Plaintiff, a jury could

infer that Denny was treated more favorably than Plaintiff. Plaintiff’s proffered

evidence suggests that while Denny and Plaintiff both suffered from medical

conditions, Plaintiff was held to a higher and more restrictive standard in assessing

her medical need to remain remote. Plaintiff submitted her doctor’s notes and

Defendant further sought clarification from Plaintiff’s doctor to determine whether

it would approve Plaintiff’s request. Def. SMF ¶¶ 93-98. However, Denny was not

required to submit any documentation, nor were her doctors contacted concerning



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her work from home accommodation. Pl. SMF ¶¶ 119, 122; Denny Dep. at 21:15-

18, 49:17-20.

      Crow testified that she believed it would be challenging for Plaintiff to work

40 hours each week because Plaintiff supervised her child during the workday. Crow

Dep. at 76:20-77:6. Defendant further presents evidence that Plaintiff refused to

complete the work from home chart assigned by Crow, referring to Crow’s

instructions as “dumb,” and believing it was means for Crow to micromanage

Plaintiff; indeed, Plaintiff only completed the requested task once. Def. Br. at 20;

see McCrae Dep. at 67:21-66:4, 131:22-132:14, 135:8-12, 137:13-15. In contrast,

Denny logged her completed work tasks and spoke at least daily with Crow about

the work she was completing at home. See Def. SMF ¶¶ 71-73. Crow testified that

she was concerned about the fact that Plaintiff and Robinson were recording eight-

hour work time because “they were clocking in and out, but they wouldn’t put on

the spreadsheet what they were doing.” Crow Dep. at 79:14-21.

      However, Defendant’s Statement of Facts does not clearly state that this

evidence, along with its impression of Plaintiff’s reliability, was a reason to require

Plaintiff to return to work in-person and permit Denny to remain remote; rather

Defendant relies on Denny’s health as why she was not asked to return. See Def.

SMF ¶ 91. In sum, a reasonable jury could infer that Plaintiff was discriminated

against when she was required to return to work, while Denny was permitted to

remain remote without supplying any medical evidence. Thus, Plaintiff has

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established a prima facie case of race discrimination based on Defendant’s refusal

to allow her to continue working remotely.

        In contrast, the Court cannot find that Plaintiff’s remaining theories of race

discrimination can survive. First, as to Plaintiff’s assignment to the temperature

monitoring station, the Court agrees that Plaintiff fails to identify an adverse action.

Even under the standard articulated in Muldrow, Plaintiff cannot establish that she

was disadvantaged by being assigned to the temperature monitoring station. Crow

directed Plaintiff to work in the COVID-19 clinic but due to the risk of exposure,

Plaintiff refused and indicated that she was “willing to perform all other job duties

within the student health clinic.” Def. SMF ¶¶ 39-40; McCrae Dep., Ex. 9 at 1. Crow

ultimately exempted Plaintiff from having to work in the COVID-19 clinic, and

indeed Plaintiff never worked in that location. Def. SMF. ¶ 42. Plaintiff’s assignment

to the temperature monitoring station was means to accommodate Plaintiff’s request

to avoid the COVID-19 clinic.2 Pl. SMF ¶¶ 26-27, 42. Moreover, the temperature

monitoring station was created based on the operational needs of the clinic during

the pandemic and Plaintiff does not dispute this notion. Id. ¶ 26. Additionally,

Plaintiff does not present a relevant White comparator that did not perform



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  Plaintiff claims that her assignment to the temperature monitoring station did not
accommodate her request to avoid COVID patients because Defendant’s “screening
process did not effectively sequester patients with COVID symptoms to the COVID
clinic.” Pl. Br. at 4. However, Plaintiff does not allege that she was ever exposed to
COVID-19.

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temperature monitoring. See Def. SMF ¶ 29 (“McCrae does not recall which other

LPNs did temperature monitoring and cannot name any white LPN that did not.”);

see McCrae Dep. at 159:16-160:11.

      Likewise, Plaintiff cannot establish that Defendant’s redeployment decision

was based on her race. Again, Plaintiff fails to proffer a valid comparator, as she

testified that she is unaware of any other Student Health LPNs, White or otherwise,

who were redeployed. See McCrae Dep. at 208:4-6, 208:23-25. Although Plaintiff

argues that “comparators are not required to make out a prima facie case,” so long

as a plaintiff presents various forms of circumstantial evidence, Plaintiff fails to

proffer additional facts to support the notion that both instances—Plaintiff’s

assignment to the temperature monitoring station and Defendant’s redeployment

decision—were due to discrimination. Without pointing to specific evidence that

Crow was motivated by discriminatory animus, Plaintiff’s bare allegations of

Crow’s intent is not enough to survive Defendant’s Motion for Summary Judgment.

      Accordingly, the Court finds that Plaintiff has established a prima facie case

of race discrimination solely as to Defendant’s revocation of Plaintiff’s remote-

working arrangement and requirement to return to work in-person, in contrast to the

allegedly more favorable treatment afforded to Denny.

                    b.     Defendant’s Non-Discriminatory Reason and Pretext

      Defendant argues that Plaintiff cannot rebut its non-discriminatory reason for

recalling her to work in clinic because “the clinic needed in-person nurses, not virtual

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ones.” Def. Br. at 20. Defendant also cites Plaintiff’s refusal to complete the tasks

assigned to her by Crow and Crow’s subsequent concern about Plaintiff’s work

output. Id.

      Under the McDonnell Douglas framework, a plaintiff may carry the burden

of showing that the employer’s proffered reasons are pretextual by showing that they

have no basis in fact, that they were not the true factors motivating the decision, or

that the stated reasons were insufficient to motivate the decision. See McDonnell

Douglas Corp., 411 U.S. 792 (1973); see also Wisdom v. M.A. Hanna Co., 978 F.

Supp. 1471, 1479 (N.D. Ga. 1997). A plaintiff can either directly persuade the court

that a discriminatory or retaliatory reason more likely motivated the employer or

show indirectly that the employer’s ultimate justification is not believable. See Texas

Dep’t of Community Affairs v. Burdine, 450 U.S. 248, 256 (1981).

      In other words, a plaintiff can show evidence, including the evidence

establishing the prima facie case, sufficient to permit a reasonable factfinder to

conclude that the reasons given by the employer were not the real reasons for the

adverse employment decision. Burdine, 450 U.S. at 256; McDonnell Douglas, 411

U.S. at 804; see also Chapman v. AI Transp., 229 F.3d 1012, 1024 (11th Cir. 2000)

(en banc); Combs v. Plantation Patterns, 106 F.3d 1519, 1530 (11th Cir. 1997) (“In

order to establish pretext, the plaintiff is not required to introduce evidence beyond

that already offered to establish the prima facie case.”). A court may consider all of

the plaintiff’s evidence supporting the prima facie case when evaluating whether the

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defendant’s reasons for adverse employment action were pretextual. See Rioux v.

City of Atlanta, 520 F.3d 1269, 1276–77 (11th Cir. 2008), overruled in part on other

grounds by Pearson v. Callahan, 555 U.S. 223 (2009).

      A plaintiff cannot show that an employer’s proffered reasons for terminating

her were pretextual simply by “quarreling with the wisdom” of those reasons. See

Brooks v. Cty. Comm’n of Jefferson Cty., 446 F.3d 1160, 1163 (11th Cir. 2006)

(quoting Chapman, 229 F.3d at 1030). Nevertheless, a plaintiff may establish pretext

if she presents sufficient evidence demonstrating “such weaknesses, implausibilities,

inconsistencies, incoherencies, or contradictions in the employer’s proffered

legitimate reasons for its action that a reasonable factfinder could find them

unworthy of credence.” Combs, 106 F.3d at 1538 (quoting Sheridan v. E.I. DuPont

De Nemours & Co., 100 F.3d 1061, 1072 (3d Cir. 1996) (en banc)). However, “[a]

reason is not pretext for discrimination unless it is shown both that the reason was

false, and that discrimination was the real reason.” Brooks, 446 F.3d at 1163

(emphasis in original) (quoting St. Mary’s Honor Ctr. v. Hicks, 509 U.S. 502, 515

(1993)). Stated another way, it is not the truth of the employer’s justifications, alone,

that a plaintiff is required to rebut. Rather plaintiff must prove that the employer did

not, in fact, rely on those justifications in taking any adverse action against her.

      The Court finds that Plaintiff’s evidence is sufficient to show that Defendant’s

proffered reasons for recalling Plaintiff to work may have been pretextual. First, the

facts discussed in detail above as to the prima facie case can be further found to

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relate to the issue of pretext. As explained, the evidence suggests that Defendant

held Plaintiff to a more restrictive standard than Denny, requiring only Plaintiff to

provide medical documentation. See Denny Dep. at 21:15-18, 49:17-20. Though

Denny testified that she did not have to provide Defendant any documentation

because it already had her information on file, Defendant does not cite this in its

Statement of Facts as to why Plaintiff was required to submit documentation from

her doctors. See id. at 21:19-23; see generally Def. SMF. Further, a jury may find

that Defendant similarly had notice of Plaintiff’s medical condition, as Plaintiff

informed them of her pregnancy in the Attestation form and later testified that Crow

was informed that Plaintiff would not return to work until after giving birth. McCrae

Dep. at 87:7-10. Also as noted above, Defendant’s Statement of Facts does not rely

on Denny’s reliability or work productivity at home to support why Denny was

permitted to continue working remotely; rather Defendant cites Denny’s health

conditions.

      Further, Plaintiff presents evidence that suggests that although Plaintiff did

not complete the work-log as requested by Crow, there were other means to confirm

whether Plaintiff was completing her work while at home. Pl. Br. at 22. While Crow

used these means to confirm whether Denny was working, Crow appeared to

primarily rely on Plaintiff’s work-log, or her lack of completion, to assess if Plaintiff

was working. Id.; Crow Dep. at 71:11-17 (“Q: How did you confirm that [Denny’s]

work was being done? A: There was [sic] only some ways to tell. Like prescription

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refills, you can look and see if they were in the box. There was [sic] telehealth

invites. There was [sic] some things you could see in the medical record, but not

everything.”); Crow Dep. at 76:10-14 (“Q: Was there any information that you

checked on, besides the work-from-home log, that led you to believe Ms. McCrae

was not working 40 hours per week? A: Not that I can recall.”). Such evidence,

viewed in the light most favorable to Plaintiff, suggests possible weaknesses in

Defendant’s proffered reason for recalling Plaintiff and presents an issue of triable

fact best suited for a jury to resolve.

      Accordingly, the Court RECOMMENDS that Defendant’s Motion for

Summary Judgment [72] be DENIED as to Counts I and IV, Plaintiff’s claims of

race discrimination under Title VII and § 1981, to the extent those claims are based

on Defendant’s decision to recall Plaintiff to work in-person.

             3.     Count II – Pregnancy Discrimination
      In Count II of the Second Amended Complaint, Plaintiff asserts a claim of

pregnancy discrimination under Title VII, as amended by the Pregnancy

Discrimination Act of 1978 (“PDA”), 42 U.S.C. § 2000e(k). Congress added Section

701(k) to Title VII in 1978 specifically to add discrimination on the basis of

pregnancy and pregnancy-related conditions as a type of sex discrimination. This

section, the PDA, provides in relevant part:

      The terms “because of sex” or “on the basis of sex” include, but are not
      limited to, because of or on the basis of pregnancy, childbirth, or related
      medical conditions; and women affected by pregnancy, childbirth or

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      related medical conditions shall be treated the same for all employment-
      related purposes, including receipt of benefits under fringe benefit
      programs, as other persons not so affected but similar in their ability or
      inability to work . . . .

42 U.S.C. § 2000e(k); see also Byrd v. Lakeshore Hosp., 30 F.3d 1380, 1381-1382

(11th Cir. 1994).

      “Rather than introducing new substantive provisions protecting the rights of

pregnant women, the PDA brought discrimination on the basis of pregnancy within

the   existing   statutory   framework    prohibiting   sex-based    discrimination.”

Armstrong v. Flowers Hosp. Inc., 33 F.3d 1308, 1312 (11th Cir. 1994). The PDA

was designed to ensure that pregnant employees are given the same opportunities

and benefits as non pregnant employees who are similarly limited in their ability to

work. See Byrd, 30 F.3d at 1382. If an employee’s pregnancy actually prevents her

from fulfilling the duties of her position, her employer is not obligated to give her

preferential treatment. Spivey v. Beverly Enterprises, Inc., 196 F.3d 1309, 1312 (11th

Cir. 1999) (“The PDA does not require that employers give preferential treatment to

pregnant employees.”).

      Because discrimination based on pregnancy or a pregnancy-related condition

is a type of discrimination based on sex, courts have applied the same analysis to

claims of pregnancy discrimination that they apply to other claims of sex

discrimination, including the McDonnell Douglas framework described above in

cases involving circumstantial evidence of discrimination. See Armstrong, 33 F.3d


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at 1312-13 (citing Maddox v. Grandview Care Ctr., Inc., 780 F.2d 987, 989 (11th

Cir. 1986)); Byrd, 30 F.3d at 1381-1383.

                    a.    Plaintiff’s Prima Facie Case

      Plaintiff alleges that Defendant treated her “differently from and less

preferably than similarly situated non-pregnant employees” and failed to provide

accommodations related to her pregnancy. Sec. Am. Compl. ¶¶ 138. A plaintiff

alleging that the denial of an accommodation constituted disparate treatment under

the PDA may establish a prima facie case by showing that: (1) she was a member of

the protected class, (2) she requested a pregnancy-related accommodation, (3) the

employer refused her request, and (4) the employer nonetheless accommodated

others “similar in their ability or inability to work.” Young v. United Parcel Serv.,

Inc., 575 U.S. 206, 229 (2015); Durham v. Rural/Metro Corp., 955 F.3d 1279, 1285

(11th Cir. 2020).

      In this case, it is undisputed that Plaintiff, a pregnant female, was a member

of a protected class under Title VII. However, Defendant argues that Plaintiff did

not seek an accommodation from temperature monitoring, nor did she request

redeployment as a pregnancy accommodation. Def. Br. at 14-15, 17. Defendant

further argues that Plaintiff does not identify a comparator that was accommodated

in these instances, nor can Plaintiff point to a valid comparator as to her work-from-

home claim. Id. at 14-15, 17-18.



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      As explained above, the PDA prohibits pregnancy discrimination, but it does

not mandate special pregnancy accommodation. See Hicks v. City of Tuscaloosa,

Ala., 870 F.3d 1253, 1260 (11th Cir. 2019) (“[E]mployers do not have to provide

special accommodations to [pregnant] workers.” (emphasis in original)); Spivey v.

Beverly Enterprises, Inc., 196 F.3d 1309, 1312 (11th Cir. 1999) (“The PDA does not

require that employers give preferential treatment to pregnant employees.”). Indeed,

the PDA does not require employers to extend any benefit to pregnant women that

they do not already provide to other disabled employees. Armindo v. Padlocker, Inc.,

209 F.3d 1319, 1321 (11th Cir. 2000) (citations omitted).

      In this case, the Court finds that an issue of fact exists as to whether Plaintiff

was discriminated against based on her pregnancy when she was forced to return to

work in-person, while Denny was permitted to continue working remotely. Contrary

to Defendant’s notion, Denny is a valid comparator for the reasons explained above.

Among other things, both Plaintiff and Denny requested to work remotely due to

their conditions that heightened their risk of exposure to COVID-19. See Denny

Decl. ¶¶ 2, 6; see also Def. SMF ¶¶ 1, 11, 13, 69; Pl. SMF ¶ 120.

      After Defendant informed Plaintiff that her work from home arrangement

could no longer be supported, Plaintiff submitted three doctors’ notes to Defendant,

citing her pregnancy as the reason to remain remote. McCrae Decl. ¶ 22. Defendant

refused Plaintiff’s request, essentially forcing Plaintiff to exhaust her leave, while

permitting Denny to continue working from home. However, Denny’s asthma,

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rendered her similar to Plaintiff in her inability to work in-person. Indeed, during the

height of the pandemic, both asthma and pregnancy were conditions that raise the

risk of severe COVID-19 symptoms and complications, which in theory, would

prevent both Plaintiff and Denny—and not solely Denny, as argued by Defendant—

from safely being in the clinic. And as discussed, in contrast to Plaintiff, Denny was

allowed to remain remote without submitting medical documentation. Denny Dep.

at 21:15-18, 49:17-20. Thus, viewing the evidence in the light most favorable to

Plaintiff, requiring Plaintiff to return to work but not Denny at least creates an issue

of triable fact of whether Denny was similar situated in her inability to work but was

nonetheless accommodated.

      However, the record does not support Plaintiff’s claim of pregnancy

discrimination prior to October 8, 2020, when Defendant instructed Plaintiff to

return to the clinic in-person. In July 2020, after refusing to work in the COVID-19

clinic, Plaintiff completed a COVID-19 Attestation Form informing Defendant that

she was pregnant and requesting “regular allotted times for eating/snacking/a lunch

break.” McCrae Dep., Ex. 10 at 1-2. According to Plaintiff, the request to snack was

due to her hyperemesis gravidarum, extreme morning sickness that could be

alleviated by eating small amounts of food frequently. McCrae Dep. at 61:14-25,

62:4-16. Plaintiff also provided a doctor’s note recommending that she not work

with any COVID-19 patients due to her pregnancy. McCrae Dep., Ex. 11. Plaintiff



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alleges that she was reprimanded by Crow for taking allotted breaks to eat and

manage her condition. Pl. SMF ¶ 108; McCrae Dep. at 171:22-172:4, 273:23-274:3.

      Neither the COVID-19 attestation form nor Plaintiff’s doctor’s note discuss

Plaintiff’s hyperemesis gravidarum, nor is there any indication that this condition

was communicated to Defendant at the time. Pl. SMF ¶ 108 (citing McCrae Dep. at

271:6-274:3), McCrae Dep., Exs. 10-11. Plaintiff alleges that even after Defendant

was aware of her pregnancy, human resources failed to ensure that Plaintiff could

take her breaks to eat. Pl. SMF ¶ 109. However, the record is devoid of a clear,

specific request for a meal schedule shown to be necessary for Plaintiff’s condition,

and Plaintiff does not cite to any denial of any specific request. See Young v. United

Parcel Serv., Inc., 575 U.S. 206, 229 (2015) (“a plaintiff alleging that the denial of

an accommodation constituted disparate treatment under the [PDA] may make out a

prima facie case by showing … that she sought accommodation”).

      Plaintiff also fails to identify specific requests made to avoid the temperature

monitoring station or to be redeployed due to her pregnancy and/or pregnancy-

related condition. Even assuming arguendo that Plaintiff made such requests, there

is no evidence of analogous accommodations being made for other employees. In

sum, Plaintiff’s Statement of Facts, along with her cited medical records, does not

assert that such requests were made, denied to Plaintiff, and allowed to other non-

pregnant employees.



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      Accordingly, the Court finds that Plaintiff has established a prima facie case

of pregnancy discrimination solely as to Defendant’s revocation of Plaintiff’s

remote-working arrangement and requirement to return to work in-person.

                   b.    Defendant’s Legitimate Non-discriminatory Reason, and
                         Pretext

      As explained above, courts have applied the same analysis to claims of

pregnancy discrimination that they apply to other claims of sex discrimination,

including the McDonnell Douglas framework described above in cases involving

circumstantial evidence of discrimination. Young v. United Parcel Serv., Inc., 575

U.S. 206, 229 (2015); Armstrong v. Flowers Hosp. Inc., 33 F.3d 1308, 1312-13 (11th

Cir. 1994); Everett v. Grady Mem'l Hosp. Corp., 703 F. App’x 938, 948 (11th Cir.

2017). Once a defendant rebuts a presumption of unlawful discrimination raised by

the plaintiff’s prima facie case, to prevail, the plaintiff must then show that the

defendant’s non-discriminatory reason is pretext for discrimination. Armstrong, 33

F.3d at 1314.

      The Court finds that Plaintiff’s evidence is sufficient to show that Defendant’s

proffered reasons— that the clinic needed in-person nurses and its concerns about

Plaintiffs work-output—may have been pretextual. First, Plaintiff’s prima facie case

can be further found to relate to the issue of pretext. As explained, the evidence

suggests that both Plaintiff and Denny endured conditions that raise the risks

COVID-19 symptoms, preventing them from safely being in the clinic; however,


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despite their similarities in their inability to work in-person, only Denny was allowed

to work remotely.

      And as explained, Defendant’s Statement of Facts does not rely on Denny’s

reliability, work productivity at home, or her previously documented medical

conditions to support why Denny was permitted to continue working remotely, and

solely cites Denny’s health conditions. Def. SMF ¶ 91. Further, Defendant had other

means to ensure Plaintiff was completing her work at home but failed to do so. Crow

Dep. at 71:11, 76:10-14.

      Plaintiff also presents evidence that despite informing Crow and human

resources of her pregnancy in July 2020, and citing it as a reason to work remotely,

Crow and North, Senior Manager for Human Resources for Campus Life,

determined that Plaintiff wanted to work from home solely to provide childcare for

her other children. North Dep., Ex. 5 [69-5] at 1; see also Crow Dep., Ex. 9 [67-9]

at 2; McCrae Decl. ¶¶ 14, 22. Plaintiff also testified that she and Crow had already

discussed that she would not return to the clinic until after she had given birth.

McCrae Dep. at 87:3-10. Viewing the evidence in the light most favorable to

Plaintiff, a jury could infer that Defendant’s mischaracterization of Plaintiff’s

proffered reasons for seeking remote work accommodation is evidence of pretext.

      Accordingly, the Court finds that Plaintiff’s evidence suggests an inference of

discrimination and that a jury could find that Defendant’s proffered reasons were

pretextual.

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       Accordingly, the Court RECOMMENDS that Defendant’s Motion for

Summary Judgment [72] be DENIED as to Counts II, Plaintiff’s claim of pregnancy

discrimination under Title VII, to the extent that claim is based on Defendant’s

decision to recall Plaintiff to work in-person.

III.   RECOMMENDATION

       For the reasons discussed above, IT IS RECOMMENDED that Defendant’s

Motion for Summary Judgment [72] be GRANTED IN PART, DENIED IN

PART.

       Specifically, IT IS RECOMMENDED that Defendant’s Motion for

Summary Judgment [72] be GRANTED as to any theories of race discrimination

under Title VII and § 1981 in Counts I and IV of the Second Amended Complaint

premised on Plaintiff’s assignment to the temperature monitoring station, lack of

redeployment, or any conduct prior to October 2020. IT IS FURTHER

RECOMMENDED that the Defendant’s Motion for Summary Judgment [72] be

GRANTED as to any theories of pregnancy discrimination under Title VII in Count

II of the Second Amended Complaint also premised on Plaintiff’s assignment to the

temperature monitoring station, lack of redeployment, or any conduct prior to

October 2020.

       IT IS RECOMMENDED that Defendant’s Motion for Summary

Judgment [72] be DENIED as to any theories of race discrimination under Title VII

and § 1981 in Counts I and IV of the Second Amended Complaint premised on

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Defendant’s decision to recall Plaintiff into the clinic for in-person work. IT IS

FURTHER RECOMMENDED that Defendant’s Motion for Summary

Judgment [72] be DENIED as to any theories of pregnancy discrimination under

Title VII in Count II of the Second Amended Complaint premised on Defendant’s

decision to recall Plaintiff into the clinic for in-person work.

      As this is a Final Report and Recommendation, there is nothing further in this

action pending before the undersigned. Accordingly, the Clerk is DIRECTED to

terminate the reference of this matter to the undersigned.

      IT IS SO RECOMMENDED this 29th day of January, 2025.


                                        __________________________________
                                        JUSTIN S. ANAND
                                        UNITED STATES MAGISTRATE JUDGE




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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION

  SHANEQUA McCRAE,

       Plaintiff,
             v.                              CIVIL ACTION FILE
                                             NO. 1:22-CV-3401-TWT-JSA
  EMORY UNIVERSITY,

       Defendant.

                                  ORDER

      This is an employment discrimination case. It is before the Court on the

Report and Recommendation [Doc. 84] of the Magistrate Judge recommending

granting in part and denying in part the Defendant’s Motion for Summary

Judgment [Doc. 72]. Plaintiff Shanequa McCrae, who worked as a nurse in

Emory’s Student Health clinic, claims that Emory discriminated against her

based on race and pregnancy with respect to her work assignments during the

Covid-19 pandemic. She alleges three discriminatory assignments: (1) working

at the temperature monitoring station, (2) denial of redeployment to another

department, and (3) recall to in-person work in October 2020. Emory moved for

summary judgment on all claims. The Magistrate Judge recommended

granting summary judgment on McCrae’s first two theories but denying it on

the third. Emory asks the Court to adopt the R&R’s recommendation as to

McCrae’s temperature monitoring and redeployment claims (and any other

conduct prior to October 2020). Emory requests that the Court decline the




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R&R’s recommendation on the decision to recall McCrae to in-person work

because the R&R failed to apply controlling Eleventh Circuit precedent

regarding the comparator analysis and pretext. The Plaintiff asks the Court to

adopt the Report and Recommendation in its entirety.

         In concluding that the Plaintiff had set forth a prima facie case of race

and pregnancy discrimination, the Magistrate Judge identified Sharon Denny

as a comparator. The plaintiff bears the initial burden of establishing a prima

facie case of pregnancy discrimination under Title VII (as amended by the

Pregnancy Discrimination Act) by showing “(1) she is a member of the

protected class; (2) she requested accommodation; (3) the employer refused her

request; and (4) the employer nonetheless accommodated others ‘similar in

their ability or inability to work.’” Durham v. Rural/Metro Corp., 955 F.3d

1279, 1285 (11th Cir. 2020). Similarly, to establish a race discrimination claim

under Title VII/Section 1981, the plaintiff must show “(1) that she belongs to a

protected class, (2) that she was subjected to an adverse employment action,

(3) that she was qualified to perform the job in question, and (4) that her

employer treated ‘similarly situated’ employees outside her class more

favorably.” Lewis v. City of Union City, Ga., 918 F.3d 1213, 1220-21 (11th Cir.

2019).

         McCrae and Denny were similar in that each was an LPN employed in

the clinic and each had a medical condition. Both began working remotely in

March 2020—McCrae because her child’s daycare closed, and Denny because
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she had asthma. McCrae returned to in-person work at the clinic in June 2020.

In July 2020, McCrae notified Emory that she was pregnant. She continued to

work in the clinic after she got pregnant. Emory accommodated her request

not to work in the Covid-19 clinic. In August 2020, McCrae asked to work from

home because she had moved her child to a virtual school, although not because

of her pregnancy. In October 2020, Emory told McCrae that she would have to

return to in-person work at the clinic. McCrae presented Emory with a doctor’s

note that stated that remote work was preferred for her but was not a medical

necessity. When she refused to return to work, Emory gave her seven months

of paid and unpaid leave. McCrae returned to the clinic in May 2021. Denny

never returned to in-person work at the clinic during the pandemic because the

cleaning chemicals used to disinfect the facility triggered daily asthma attacks.

      The critical difference between Denny and McCrae is that in October

2020, McCrae could work in person at the clinic and Denny could not. Thus, on

an objective basis they were not similarly situated. The Magistrate Judge erred

in finding that Denny was a sufficient comparator to support a prima facie case

of race and pregnancy discrimination. Far from showing pretext, the record

shows that Emory bent over backwards to try to accommodate the Plaintiff’s

requests to work from home. The Court declines to adopt the Report and

Recommendation to the extent that it recommends denying the Defendant’s

Motion for Summary Judgment based upon the recall of McCrae to in-person

work in October 2020. Otherwise, the Court approves and adopts the Report
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and Recommendation as the judgment of the Court. The Defendant’s Motion

for Summary Judgment [Doc. 72] is GRANTED.

      SO ORDERED, this       11th       day of March, 2025.



                                            _________________________ ____
                                            THOMAS W. THRASH, JR.
                                            United States District Judge




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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION


 SHANEQUA MCCRAE,
             Plaintiff,
                                                  CIVIL ACTION FILE
 vs.
                                                  NO. 1:22-cv-03401-TWT
 EMORY UNIVERSITY,
              Defendant.



                                     JUDGMENT

        This action having come before the court, Honorable Thomas W. Thrash, Jr.,

United States District Judge, for consideration of the Magistrate Judge’s Final Report and

Recommendation recommending that Defendant’s motion for summary judgment be

granted, and the court having adopted the same, it is

        Ordered and Adjudged that the plaintiff take nothing; that the defendant recover

its costs of this action, and the action be, and the same hereby is, dismissed.

        Dated at Atlanta, Georgia, this 11th day of March, 2025.


                                                         KEVIN P. WEIMER
                                                         CLERK OF COURT


                                                   By:   s/Traci Clements Campbell
                                                         Deputy Clerk
Prepared, Filed, and Entered
in the Clerk's Office
  March 11, 2025
Kevin P. Weimer
Clerk of Court

By: s/Traci Clements Campbell
   Deputy Clerk




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                   IN THE UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

SHANEQUA MCCRAE,                         )
                                         )
             Plaintiff,                  )
                                         )             Civil Action No.:
                                         )             1:22-cv-03401-TWT
      v.                                 )
                                         )
EMORY UNIVERSITY,                        )
                                         )
             Defendant.                  )

                      PLAINTIFF’S NOTICE OF APPEAL

      Notice is hereby given that Shanequa McCrae, Plaintiff in the above-caption

matter, hereby appeals to the United States Court of Appeals for the Eleventh Circuit

from the Order and Judgment of the District Court entered on March 11, 2025 [ECF

Docket No. 90 and 91], which granted in favor of Defendant Emory University and

disposed of all claims in this action.

Respectfully submitted this 9th day of April 2025.

                                                 GODDARD LAW PLLC

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                        RULE 7.1.D CERTIFICATE

     The undersigned counsel certifies that this document has been prepared with

Times New Roman 14-point font in accordance with Local Rule 5.1.C.

                                           /s/ Megan S. Goddard
                                           Megan S. Goddard, Esq.
                                           Goddard Law PLLC
                                           [Pro Hac Vice]




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